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          EXHIBIT
            A
             Case 2:20-cv-01644 Document 1-1 Filed 02/20/20 Page 2 of 65 Page ID #:14




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 21002419
Notice of Service of Process                                                                            Date Processed: 01/22/2020

Primary Contact:           Debby Daurer
                           Wright Medical Technology, Inc.
                           1023 Cherry Rd
                           Memphis, TN 38117-5423

Entity:                                       Wright Medical Technology, Inc.
                                              Entity ID Number 2233123
Entity Served:                                Wright Medical Technology, Inc.
Title of Action:                              James Shaw vs. Wright Medical Group, Inc.
Matter Name/ID:                               James Shaw vs. Wright Medical Group, Inc. (9815787)
Document(s) Type:                             Amended Complaint/Petition
Nature of Action:                             Product Liability
Court/Agency:                                 Los Angeles County Superior Court, CA
Case/Reference No:                            19STCV36986
Jurisdiction Served:                          California
Date Served on CSC:                           01/21/2020
Answer or Appearance Due:                     Other/NA
Originally Served On:                         CSC
How Served:                                   Regular Mail
Sender Information:                           Steven R. Vartazarian
                                              818-990-9949

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
    Case 2:20-cv-01644 Document 1-1 Filed 02/20/20 Page 3 of 65 Page ID #:15
i




     1     Steven R. Vartazarian, Esq. (SBN 227635)
           Matthew J. Whibley, Esq. (SBN 299383)
     2     Nicholas M. Maxwell, Esq. (SBN 283575)
           THE VARTAZARIAN LAW FIRM
     3     15250 Ventura Blvd., Suite 505
           Sherman Oaks, California 91403
     4     Phone: 818.990.9949
           Fax: 818.990.6124
     5
     6     Attorneys for Plaintiffs,
           JAMES SHAW and LISA SHAW
     7
     8                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
     9                              FOR THE COUNTY OF LOS ANGELES
    10 1
            JAMES SHAW, LISA SHAW,                              CASE NO.: 19STCV36986
    11 I
                               Plaintiffs,
    12                                                          FIRST AMENDED COMPLAINT FOR:
            V.
    13                                                            (1) Strict Products Liability
            WRIGHT MEDICAL GROUP, INC.,                           (2) Negligence
    14      a Co_rporation; WRIGHT MEDICAL                        (3) Breach of War-ranty
            TECHNOLOGY, INC., a corporation;                      (4) Loss of Consortium
    15      ADVANCED SURGICAL DEVICES,
            INC., a California Corp oration, WILLIAM              JURY TRIAL DEMANDED
    16      ZUROWSKI, FRANK VELAZCO, and
            DOES 1 to 100, inclusive,
    17                                                          [AMOUNT DEMANDED EXCEEDS
                                                                $as, 000]
    18                         Defendants.
    19
                      Plaintiffs JAMES SHAW and LISA SHAW bring this action against WRIGHT
    20
           MEDICAL GROUP, INC., a corporation, WRIGHT MEDICAL TECHNOLOGY, INC., a
    21
           corporation, ADVANCED SURGICAL DEVICES, INC., a California corporation, WILLIAM
    22
           ZUROWSKI, FRANK VELAZCO, and DOES 1 to 100, inclusive (collectively hereinafter
    23
           referred to as "Defendants") and alleges as follows:
    24
                                             GENERAL ALLEGATIONS
    25
                      1.      At all relevant times, Plaintiffs JAMES SHAW and LISA SHAW are and were
    26
           residents of the State of California.
    27
                      2.      Defendant Wright Medical Group, Inc., a corporation, is a citizen of the State
    28
           of Delaware (where incorporated) and the State of Tennessee (principal place of business), and is
                                                            1
                                               FIRST AMENDED COMPLAINT
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 1   the parent company of Defendant Wright Medical Technology, Inc., a corporation, which is a
2    citizen of the State of Delaware (where incorporated) and the State of Tennessee (principal place
3    of business), collectively referred to hereinafter as the "WRIGHT" Defendants.
4               3.       Defendant Advanced Surgical Devices, Inc. is a California corporation with its
 5   principal place of business in Los Angeles, California. At all relevant times, said Defendant was

6    a California-based distributor or sales representative of orthopedic products manufactured by

 7   Defendant Wright Medical Technology, Inc., including the Wright Medical Profemur hip

 8   products in issue in this civil action.

 9              4.       Defendant WILLIAM ZUROWSKI ("ZUROWSKI") is resident and citizen of

10   State of California, with his principal place of business at 227 Palisades Ave, Santa Monica, CA
11 90402.

12              5.       Defendant FRANK VELAZCO ("VELAZCO") is resident and citizen of State

13   of California, with his principal place of business at 3775 Ashwood Ave., Los Angeles,
14   California 90066.

15              6.       Directly or through its aforesaid subsidiaries, Defendants Wright Medical

16   Group, Inc., and Wright Medical Technology, Inc., designed, manufactured, distributed and sold

17   in California various orthopedic hardware systems including the Profemur Z hip prosthesis

18   components at issue in this case.

19              7.       The Profemur Z hip prosthesis, and all other relevant components were

20   approved for marketing by the Food and Drug Administration via its 510(K) Premarket

21   Notification procedure filed by one of the "Wright" defendants, and therefore defendants are not
22   exempt from suit in State Court.

23              8.       The true names and capacities, whether individual, corporate, associate,

24   governmental or otherwise of DOE 1 to DOE 100, inclusive, are unknown to Plaintiff at this
25   time, who therefore sue said defendants by such fictitious names. When the true names and
26   capacities of said defendants are ascertained, Plaintiff will amend this Complaint accordingly.

27   Plaintiff is informed and believes, and thereon allege, that each of the defendants designated

28   herein as a DOE was and is responsible in some manner for the events and happenings herein


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                                          FIRST AMENDED COMPLAINT
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 1   referred to and their conduct directly, proximately and legally caused the injuries and damages
 2   sustained by Plaintiff as herein alleged, either through said defendants' own conduct or through
 3   the conduct of their agents, servants, or employees, or in some other manner.
 4              9.     At all times herein mentioned, each defendant named herein was and is the
 5   duly authorized agent, employee, servant, partner and/or joint venture of the other co-defendants,

 6   acting within the course and scope of said relationship. Further, when acting as a principal, each

 7   defendant approved, consented to, and ratified the acts and conduct of his, her or its
 8 co-defendants.

 9                                     FACTUAL CONTENTIONS

10              10.    In 2003 Plaintiff, JAMES SHAW underwent staged implantation of bilateral

11 I"Wright" modular neck, Profemur Z stem a.nd monoblock metal cup hip prostheses.

12              11.    Specifically, the implants utilized cobalt and chromium materials, and the
13   system as a whole utilized modular stems and metal-on-metal articulation. The failed implants

14   consisted of such components, all of which were manufactured and caused to be distributed in

15   California by defendants WRIGHT MEDICAL GROUP, INC., and, WRIGHT MEDICAL

16   TECHNOLOGY, INC., Advanced Surgical Devices, Inc., WILLIAM ZUROWSKI and FRANK

17   VELAZCO. At the time the femoral components were implanted in Plaintiff, they were in the

18   same condition in all respects as when it left the Defendants' control.

19              12.    Both the left and right implants failed resulting in apparent, observed and

20 I documented: cobalt and chromium toxicity and the dissemination of inetallic debris into the

21   tissues surrounding the implants; development and presentation of pseudotumors secondary to

22   metal-on-metal reaction; pain, and failure resulting in the necessity of revision surgery.

23              13.    As a result of the failure, Plaintiff required right hip revision surgery on or
24 I about July 26, 2018 and the left hip revision surgery occurred on or about January 14, 2019.

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26
27
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                                                      3
                                        FIRST AMENDED COMPLAINT
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 1                                      FIRST CAUSE OF ACTION
2    (By JAMES SHAW For Strict Products Liability Against Defendants Wright Medical
     Group Inc., and Wright Medical Technology, Inc., for defectively designing,
3    manufacturing, and failing to warn of the potential for breakage of the Total Hip
     Arthroplasty components including the modular Profemur Z femoral component as
 4   described above.)
 5
                14.     Plaintiff re-alleges and incorporates herein by reference the above paragraphs 1
 6
     through 13 as if fully set forth within.
 7
                15.     DESIGN DEFECT
 8
                        A. Consumer Expectation Test
 9
                        1.   Plaintiff claims that the products' design was defective because the
10
                        product did not perform as safely as an ordinary consumer would have
11
                        expected it to perform. Specifically, Plaintiff who was an ordinary consumer,
12
                        formed a reasonable minimum safety expectation that the hip implant system
13
                        as a whole (hereafter, "system") as well as the individual components
14
                        manufactured by the Defendants would not corrode and release metals and
15
                        metallic debris into the surrounding tissue causing severe tissue damage and
16
                        necessitating premature surgical removal.
17
                        2.   Plaintiff further alleges that Defendants manufactured distributed and sold
18
                        the subject product(s) in California. Plaintiff alleges that the product(s) did not
19
                        perform as safely as an ordinary consumer would have expected it to perform
20
                        when used in the manner intended by the manufacturer. Plaintiff further
21
                        contends that he was harmed by the defective design of the product(s) when it
22
                        corroded and released metallic debris into the surrounding tissue causing
23
                        severe tissue damage and requiring revision surgery. Plaintiff contends that the
24
                        product(s)' failure to perform safely was a substantial factor, and the only
25
                        factor, in causing Plaintiff's harm as stated herein.
26
                16.     Risk Benefit Test
27
                        1.   Plaintiff claims that the product(s)' design caused harm to Plaintiff.
28
                        Plaintiff contends that Defendants manufactured, distributed and sold the

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 1                      subject product(s) in California. Plaintiff contends that he was harmed by the
 2                      product(s) as a result of its design when it corroded and released metallic
 3                      debris into the tissue surrounding the implants causing severe tissue damage
 4                      and necessitating surgical revision well before the intended and reasonable life
 5                      expectancy of the products. Plaintiff contends that the product(s)' design was a

 6                      substantial factor, and the only factor, in causing his harm as stated herein.

 7               17.    Failure to Warn

 8                      1. Plaintiff claims that the hip replacement system and components described

 9                      in this complaint, the metal-on-metal articulation of the system as designed, as
10                      well as specifically the modular Profemur Z femoral component, lacked

11                      sufficient warrving of its potential risk for corrosion, fretting and release of

12                      metal, including chromium and cobalt, into the body. Plaintiff contends and

13                      alleges that this system and components had a substantial risk of fretting or
14                      corroding that was known and/or k.nowable by the use of scientific knowledge

15                      available at the time of the manufacture, distribution, and/or sale. Plaintiff

16                      further contends that the potential risk of fretting or corrosion presented a

17                      substantial danger to users of this system and components which ordinary

18                      consumers could not have recognized. Plaintiff further contends and alleges

19                      that Defendants failed to adequately warn of the potential risk of the system

20                      and components in a way that was reasonably foreseeable to Defendants.

21                      2. As a result, Plaintiff was prevented from making an informed decision

22                      about which implant he would allow to be implanted in his body. Had he been

23                      adequately informed, he would have chosen a safer alternate design that had a
24                      track record of success.

25                      3. Plaintiff was harmed and the lack of sufficient warnings was a substantial

26 I                    factor in causing Plaintiff's harm.
27               18.    As a direct, proximate, and legal result of the actions of Defendants described

28     herein, Plaintiff JAMES SHAW suffered debilitating injury which required two (2) invasive


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 1   I   revision surgeries, which caused Plaintiff to suffer past and future physical pain, mental
 2   I   suffering, loss of enjoyment of life, disfigurement, physical impairment, discomfort,
 3   I   inconvenience, anxiety, humiliation, and emotion distress.
 4                  19.     As a further direct, proximate, and legal result of defendant's negligence as
 5   I   described herein, Plaintiff has incurred past medical expenses and will incur future medical
 6   I   expenses in an amount to be ascertained.

 7                                         SECOND CAUSE OF ACTION
 8     (By JAMES SHAW for Negligence Against Defendants Wright Medical Group, Inc., and
     I Wright Medical Technology, Inc.)
 9
                    20.     Plaintiff JAMES SHAW re-alleges and incorporates the above paragraphs 1
10
         through 19 as if fully set forth herein.
11
                    21.     Defendants owed a duty of reasonable care to Plaintiff JAMES SHAW to
12
         design, manufacture, sell, and/or distribute the aforementioned hip replacement system,
13
         components, and specifically modular Profemur Z femoral components as described above, in a
14
         condition that was safe for its intended purpose. Defendants' duty includes a duty to ensure that
15
         the modular Profemur Z femoral components did not cause users to suffer from failure once
16
         implanted. Defendants failed to exercise ordinary care in the manufacture, design, sale, testing,
17
         quality assurance, quality control, marketing, and/or distribution of the described system and
18
         components, including specifically the modular Profemur Z femoral components in that
19
         Defendants knew or should have known that the defective design of the hip replacement system,
20
         defective components, and specifically defective modular Profemur Z femoral components
21
         created a risk of failure that could result in painful and debilitating injury, which could only be
22
         alleviated by revision surgery.
23
                    22.     Defendants breached their duty to Plaintiff JAMES SHAW in the testing,
24
         design, manufacture, packaging, warning, advertising, promotion, distribution and sale of its
25
         aforementioned hip replacement system, components, and specifically modular Profemur Z
26
         femoral components in that Defendants failed to use ordinary care in designing and
27
         manufacturing the components so as to avoid the manufacturing and design defects that cause the
28
         components to fail.

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                                             FIRST AMENDED COMPLAINT
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 l~              23.       Defendants also breached their duty to Plaintiff JAMES SHAW by failing to
 2    properly design, manufacture, inspect, and/or prepare the aforementioned components, including
 3 I the modular Profemur Z femoral components, that were implanted into Plaintiff and others

 4 I similarly situated.

 5               24.       Although Defendants knew or should have known that the aforementioned
 6    system, components, and specifically modular Profemur Z femoral components were defective
 7    and could fail, Defendants failed to warn the medical community and the public of said risk.
 8    Defendants knew or reasonably should have known that the aforementioned system, components,
 9    and specifically modular Profemur Z femoral components were dangerous or were likely to be
10    dangerous when used in a reasonably foreseeable manner. Defendants knew or reasonably
11    should have known that users would not realize the danger and Defendants failed to adequately
12 warn of the danger. A reasonable manufacturer, distributor, and/or seller under the same or
13    similar circumstances would have warned of the danger. As a result of the negligent failure to
14 warn, Plaintiff was harmed. Defendants ' failure to warn was a substantiai factor in causing
15    Plaintiffl s harm.
16               25.       Defendants knew or should have known that consumers such as Plaintiff
17    JAMES SHAW risked injury as a result of Defendants ' failure to exercise ordinary care as
18    described above.
19               26.       Plaintiff further alleges that Defendants knew or should have known of the
20 aforementioned system, components, and specifically modular Profemur Z femoral components'
21    defective nature, as set forth herein, but continued to manufacture, design , market, and sell the
22 aforementioned system, components, and specifically modular Profemur Z femoral components
23 so as to maximize sales and profits at the expense of the health and safety of the public, including
24 Plaintiff , in conscious or reckless disregard of the foreseeable harm caused by the
25    aforementioned system, components, and specifically modular Profemur Z femoral components.
26               27.       As a direct, proximate, and legal result of Defendants' negligence as described
27 herein, Plaintiff JAMES SHAW suffered debilitating injury which required two (2) invasive
28 revision surgeries, which caused Plaintiff to suffer from past and future physical pain, mental

                                                         7
                                           FIRST AMENDED COMPLAINT
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 1   suffering, loss of enjoyment of life, disfigurement, physical impairment, discomfort,
 2   inconvenience, anxiety, humiliation, and emotional distress.
 3               28.    As a further direct, proximate and legal result of defendant's negligence as
 4 I described herein, Plaintiff has incurred past medical expenses and will incur future medical

 5 I expenses in an amount to be ascertained.
 6                                      THIRD CAUSE OF ACTIOle1
 7   (By JAMES SHAW for Breach of Warranty Against Defendants Wright Medical Group,
     Inc. and Wright Medical Technology, Inc.)
 8

 9              29.     Plaintiff JAMES SHAW re-alleges and incorporates the above paragraphs 1
10 I through 28 as if fully set forth herein.

11              30.     Plaintiff contends that he was harmed by the aforementioned system,
12   components, and specifically modular Profemur Z femoral components because they did not have
13   the quality that a buyer would expect and/or that it was not suitable for its intended purpose.
14              31.     Defendants impliedly warranted that they would sell and deliver the
15   aforementioned system, components, and specifically modular Profemur Z femoral components
16   that were fit for the particular purposes for which they were intended. Defendants also knew that
17   Plaintiff JAMES SHAW and his physician intended to use the aforementioned system,
18   components, and specifically modular Profemur Z femoral components for the particular purpose
19   of hip replacement.
20              32.     Plaintiff JAMES SHAW and his physician relied upon Defendants' skill
21   and/or judgment in furnishing a suitable aforementioned system, components, and specifically
22   modular Profemur Z femoral components.
23              33.     Defendants, by selling and delivering defective versions of the aforementioned
24   system, components, and specifically modular Profemur Z femoral components, which were used
25   during Plaintiff's surgery, breached the implied warranties of inerchantability and fitness in that
26   the aforementioned system, components, and specifically modular Profemur Z femoral
27   components presented an unreasonable risk of failure resulting in pain, discomfort, anxiety,
28   emotional distress, partial disability, and the necessity of painful, invasive surgery.


                                                       8
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 1                  34.     As a direct, proximate, and legal result of defendant' s actions as described
 2       herein, Plaintiff JAMES SHAW suffered debilitating injury which required two (2) invasive
 3       revision surgeries, which caused Plaintiff to suffer from past and future physical pain, mental
 4       suffering, loss of enjoyment of life, disfigurement, physical impairment, discomfort,
 5       inconvenience, anxiety, humiliation, and emotional distress, and was caused to suffer from, and
 6 I continues to suffer from emotional distress, pain, discomfort, and anxiety.
 7                  35.     As a further direct, proximate, and legal result of defendant's negligence as

 8 I described herein, Plaintiff has incurred medical expenses and will incur future medical expenses
 9       in an amount to be ascertained.

10                                         FOURTH CAUSE OF ACTION
11       (By LISA SHAW for Loss of Consortium Against Defendants Wright Medical Group, Inc.
         and Wright Medical Technology, Inc.)
12
                    36.     Plaintiff LISA SHAW re-alleges and incorporates the above paragraphs 1
13
         through 35 as if fully set forth herein.
14
                    37.     At all relevant time periods, including 2003 when the hip implants were
15
         inserted, the Plaintiffs, LISA SHAW and JAMES SHAW, were married and continue to be
16
         married.
17
                    38.     As a result of the wrongful and negligent acts of the Defendants, and each of
18
         them, the Plaintiffs were caused to suffer, and will continue to suffer in the future, loss of
19
         consortium, loss of love, companionship, comfort, care, assistance, protection, affection, society,
20
         moral support, and the enj oyment of sexual relations, all to. the detriment of their marital
21
         relationship.
22
                    39.     That all the injuries and damages were caused solely and proximately by the
23
         negligent and wrongful acts of the Defendants.
24
                    WHEREFORE, Plaintiff requests the following relief..
25
                    On the First through Third Causes of Action by Plaintiff JAMES SHAW
26
                    Against All Defendants:
27
                            (a) General damages in an amount according to proof;
28
                            (b) Special damages according to proof;

     I                                                     9
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 1                     (c) Interest, costs and expenses in this litigation;
 2                     (d) pre judgment interest on the amount of damages attributable to personal
 3                     injury pursuant to Civil Code section 3291; and
 4                     (e) such other and further relief as may be just and proper.
 5              On the Fourth Cause of Action byPlaintiff LISA SHAW

 6              Against All Defendants:

 7                     (a) General damages in an amount according to proof;

 8                     (b) Special damages according to proof;

 9                     (c) Interest, costs and expenses in this litigation;
10                     (d) pre judgment interest on the amount of damages attributable to personal

11                     injury pursuant to Civil Code section 3291; and

12                     (e) such other and further relief as may be just and proper.

13
14                                     JURY TRIAL DEMANDED

15              Plaintiff hereby demands a trial by jury as to all claims and causes of action.

16
17
                                                           THE VARTAZARIAN LAW FIRM
18
19                                                                   ~
     I Dated: January 16, 2020
20
                                                           Steven R. Vartazarian, Esq.
21                                                         Matthew J. Whibley, Esq.
22                                                         Nicholas M. Maxwell, Esq.

23
24
25
26
27
28

     I                                                10
                                        FIRST AMENDED COMPLAINT
Case 2:20-cv-01644 Document 1-1 Filed 02/20/20 Page 13 of 65 Page ID #:25



                                            PROOF OF SERVICE
 2                         STATE OF CALIFORNIA, LOS ANGELES COUNTY
 3           I am employed in Los Angeles County, State of California. I am over the age of 18 and not
     a party to the within action; my business address is: 15250 Ventura Blvd., Suite 505, Sherman Oaks,
 4   CA 91403
 5           On September 26, 2019, I served the foregoing document described as
 6           FIRST AMENDED COMPLAINT
 7   on the interested parties in this action by placing the true copies thereof enclosed in sealed envelopes
     addressed as follows:
 8
                                            Please see Service List
 9
     (XXX)           BY U.S. MAIL: I deposited such envelope(s) in the mail at Sherman Oaks, California.
10   The envelopes were mailed with postage thereon fully prepaid. I am "readily familiar" with the firm's
     practice of collection and processing correspondence for mailing. Under that practice it would be
11   deposited with U.S. Postal Service on the same day in the ordinary course of business. I am aware
     on motion of the party served, service is presumed invalid if postal cancellation date or postage
12   meter date is more than one day after the date of deposit for mailing in affidavit.
13   ()      OVERNIGHT DELIVERY: () UPS () FedEx: I enclosed the documents in an envelope or
     package and addresses to the persons at the address stated in the SERVICE LIST. I placed the
14   envelope or package for collection and overnight delivery at an off ce or a reguiar utilizect drop box
     of the overnight deiivery carrier.
15
     ()     UPS / FEDEX DELIVERY: I enclosed the documents in an envelope or package and
16   addresses to the persons at the address stated in the SERVICE LIST. I placed the envelope or
     package for collection and delivery at an office or a regular utilized drop box of the delivery carrier.
17
     ()      PERSONAL SERVICE: I enclosed the documents in an envelope or package
18 and personally served the persons stated in the SERVICE LIST.
19 ()       FACSIMILE: I faxed the documents to the persons at the numbers listed in the SERVICE
     LIST. No error was reported by the fax system that I used. A copy of the record of the fax
20   transmission, which I printed out, is attached.
21   ()      EMAIL/ELECTRONIC TRANSMISSION: I caused the documents to be sent to the person
     at the email addressed listed in the SERVICE LIST. I did not receive, within a reasonable time after
22   the transmission, any electronic message or other indication that the transmission was unsuccessful.
23          I declare under penalty of perjury under the laws of the State of California that the above is
     true and correct.
24
             EXECUTED on September 26, 2019, at Sherman Oaks, California
25
26
27                                      ~~ -- '             •—• • ~

28


                                                                                                          nm
                                              PROOF OF SERVICE
Case 2:20-cv-01644 Document 1-1 Filed 02/20/20 Page 14 of 65 Page ID #:26



 1
                                         Service List
 2
 3 IlWilliam Zurowski
    227 Palisades Avenue
 4 Santa Monica, CA 90402
 G
 6 Advanced Surgical Devices, Inc
    c/o William Zurowski
 7 227 Palisades Avenue
    Santa Monica, CA 90402
 8 Defendant
 9
    Wright Medical Group, Inc.
10 CSC Lawyers, Inc.
    2710 Gateway Oaks Dr. Ste 150N
11 Sacramento, CA 95833-3502
    Defendant
12
13 Wright Medical Technologies, Inc.
    CSC Lawyers, Inc.
14 2710 Gateway Oaks Dr. Ste 150N
    Sacramento, CA 95833-3502
15 Defendant
16
    Sean K. Burke, Esq
17 DUANE MORRIS, LLP
    30 S. 17 Street
18 Philadelnhia, PA 19103-4196
19
20
21
22
23
24
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                                       PROOF OF SERVICE
                Case 2:20-cv-01644 Document 1-1 Filed 02/20/20 Page 15 of 65 Page ID #:27
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The Vartazariap. Law Firm
15250 Ventura B lvd., Suite 505                                                                                46~

Shernian Oaks, CA 91403
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                                                                Wright Medical Technologies, Inc.
                                                                CSC Lawyers, Inc.
                                                                2710 Gateway Oaks Dr. Ste 150N
                                                                Sacramento, CA 95833-3502
            Case 2:20-cv-01644 Document 1-1 Filed 02/20/20 Page 16 of 65 Page ID #:28




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 20772572
Notice of Service of Process                                                                            Date Processed: 12/03/2019

Primary Contact:           Debby Daurer
                           Wright Medical Technology, Inc.
                           1023 Cherry Rd
                           Memphis, TN 38117-5423

Entity:                                       Wright Medical Technology, Inc.
                                              Entity ID Number 2233123
Entity Served:                                Wright Medical Technology, Inc.
Title of Action:                              James Shaw vs. Wright Medical Group, Inc.
Matter Name/ID:                               James Shaw vs. Wright Medical Group, Inc. (9815787)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Product Liability
Court/Agency:                                 Los Angeles County Superior Court, CA
Case/Reference No:                            19STCV36986
Jurisdiction Served:                          California
Date Served on CSC:                           12/02/2019
Answer or Appearance Due:                     30 Days
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                                              818-990-9949

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                                                                                      195~C~V36986e
                                                                                                                         17 of 65       Page
                                                                                                                                   of Court,        ID #:29 Clerk
                                                                                                                                             by R. Clifton,Deputy


                                                                                                                                                                        SUM-100
                                                               S UMM®NS
                                                                                                                         I                   FOR COURT USE ONLY
                                                                                                                                         (SOLO PARA USO DE LA CORTE)
                                                         (CLTACI CN JUDICIAL)
           NOTICE TO DEFENDANT:
           (AVISO AL DEMANDADO).:
           WRIGHT MEDICAL GROUP, INC.; a Corporation; WRIGHT MEDICAL TECHNOLOGY,
           INC. , a corporation; ADVANCED SURGICAL DEVICES, INC., a California Corporation,
           WILLIAM ZUROWSKI, FRANK VELAZCO, and DOES I to 100, inclusive
           YOU ARE BEING SUED BY PLAINTIFF:
           (LO ESTA DEMANDANDO EL DEMANDANTE):
            James Shaw and Lisa Shaw


            NOTICEI You have been sued. The court may decide against you.without'your being heard unless you respond within 30 days. Read the information
            below.
               You have 30 CALENDAR DAYS after this summons and legal papers are served on you'to file a written response at this court and have a-copy
            served on the plaintiff. A letter or ph"one call will not protect you. Yourwritten response• must be in proper legal form if you want the court to hear your
            case. There may be a coufi form that you can use for qour response. You can find these court forms and more information at the California Courts
            Online Self-Help Center,(www.courtinfo.ca.gov/selfhelp), your county law library, or the:courthouse nearestyou. If you cannot pay the filing fee, ask
            the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and propelty
            may be taken without further, warning from"the court:
               There, are other legal requirements. You.may want to call an, attorney right away. If you do not know an attorney, you rnay want to call .an aitorney
            referra) service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program..You can locate
            these nonprofit groups at the California Legal Services Web site (wwm.lawhelpcaliforriia.org), the California Courts"Online Self-Help Center
            (www courtinfo.ca.gov/selfhelp), or by contaciing your local court or county bar association. NOTE: The couft has a statutory lien for waived fees and
            costs oh any settlernent or arbitration award of $10,000 or more in. a civil case. The court's- lien must be p'aid before the court will dismiss the case.
            IAVISOI Lo han, demandado.. Si" no respo'nde dentro de 30'dias, la corte puede decidir en su contra sin escuchar,su version. Lea la informacidn a
            continuacion.
              Tiene 30 DfAS DE CALENDARIO despues de que le entreguen esta citacidn y papeles legales para presentar una respuesta por escrito en esta
            corte y hacer que se entregue una copia al demandante: Una carta o una Ilamada telefonica no lo protegen. Surespuesta por escrito tiene que estar
            en forntato legal correcto si desea que procesen su caso en la corte: Es posible que haya un formulano que ustedpueda usarpara su respuesta.
            Puede encontrar estos'formularios de. la.corte y mss informaci6n en el Centro.de Ayuda de 1as Gortes de California (yv<Nw.sucorte.ca.gov), enla
            biblioteca de leyes de su condado o en la corte que le quede mas cerca. Si no puede pagar la cuota de presentacion, pida al secretano de la. corte
            que le de un fonnulario de-exencion de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder e1 caso por incumplimiento y la corte le
            podra qtiitarsu sueldo, dfnero. y bienes sin mas advertencia.
             Hay otros requisitos legales: Es recomendable que Hame a un abogado inmediatamente. Si no conoce a un abogado, puede Ilamar a un servicio de
            remisibn a abogados. Si no puede pagar a un abogadq es posible.que cumpla con los requisifos para obtener servicios legales gratuitos de un
            programa de servicios /ega/es sin ffnes de /ucro. Puede encontrar estos grupos sin fines de tucro en e/ sitio web de Ca/ifornia Legal Services,
            (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniendose en contacto con la corfe o el
            co/egio de abogados locales. AVISO: Porley, la coite tiene derecho a reclama"rlas cuotas•ylbs costos exentos pb"rii»ponerun gravamen sobre
            cualquierrecuperack5n de;$10,000 B mas de valorrecibida medianfe un acuerdo o una concesibn de arbitraje en un:easo de derecho civil. Tiene que
            pagar el gravamen de la corfe antes de que la corte pueda desechar el caso.

          'The name and address of the cOurt is:                                                                             CASE NUMeER:
                                                                                                                             (Numero delCaso):
           (El nombre y direccion de la corte                  es):. Los .Angeles Superior Court
            312 North Spring Street
            Los Angeles, CA 90012
           The name, address, and telephone number of plaintifPs attorney, or plaintiff without an attorney, is:
           (El nomtire, !a direccion y el numero de: telefono del abogado del demandante, o del demandante que no tiene abogado, es):
            Steven R. Vartazariaii, Esq., 15250 Ventura Blvd., Suite 5.05, Sherman Oaks, CA 91403, 818-990-9949
                                                                                                              Sherri R. Carter Executive OfricerJ Clerk of Court
           DATE: 1 Qr1512p1 g                                                                  Cletk, by                                                                , Deputy
                                                                                                                             Romunda Cliftan
           (Fecha)                                                                             (Secretarlo)                                                              (Adjunto)
           (For proof of service of this summons, use Proof of Service of Summons (form POS-090).)
           (Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-090)).
                                                           NOTICE TO THE PERSON SERVED: You are served
            tSEALI
                                   ~w                      1. ® as an ind'ividual defendant.
                               ;~•'i'i'}( f~~,
                                                           2. 0 as the person sued under the,fictitious name of (specify):


             ~u    ~J..
                     ~ ~.,'•
                         •1 ~1I. 4 :   , -„ ~I, ~~.'~      3
                                                                    ~(~,,~ ~- ~         ~
                                                                     o behalf o (specffy') '                                                ~
                                                                                                                                                                     a c 'r~~  o
                                    ~r.
                     -      ,       1.~ ` l
                                             j
               ~`- 9 ,~,r-'~ ~ ~ •1~~!'•'        i~ ~
                 r :`•' ~ U'ri:l ti~j ~ d:,
                                                   ,~:          under:       CCP 416.10 (corporation)             [] CCP 416.60 (minor)
                                                                             CCP 416.20 (defunct corporation)     0 CCP 416.70 (conservatee)
                                                                         ~ CCP 416.40 (association or partnership) 0 CCP 416.90 (authorized person)
                                                                     = other (specify):
                                                           4. = by personal delivery on (date):
                                                                                                                                                                            Page 1 of 1
            Form Adopted for Mandatory Use                                              SUMMONS                                                   Code of Civil Procedure §§ 412.20• 465
              Judicial Council of California                                                                                                                        www.courtin/o.ca.gov
              SUM-100 tRev. July 1, 20091
•                          ___..., _.---....,-~---..._..-~--~- ~-~--....._.......... _
    Case 2:20-cv-01644 Document 1-119STCV36986
                                      Filed 02/20/20 Page 18 of 65 Page ID #:30
                 Assigned for all purposes to: Spring Street Courthouse, Judicial Officer: Jon Takasugi




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           Matthew J. Whibley, Esq. (SBN 299383)
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           F'aX:      8.18:990.6124
      5_

      6    Attorneys for Ptaintiffs;
           JAMES SHAW and LISA SHAW
      7

      8                         SYJPERIOR COUI2T OF`THE S`1CATE OJF CALIFO][21®TIA
      9                                        FOR THE ,COUNTY OF Y,OS AloTGELES.
    10
            JAMES SHAW, LISA SHA.W,                                                      -CASE. NO.:
    `I 1
                                       Plaiiitiffs,
    12                                                                                   CONiPLAINT FOR:
            V.
    1~3                                                                                     (1), Strict.P;roducts Liability
            VJRI:GHT MEDICAL GROUP, INC.,                                                   (2) Negligence
    14      a Corporation; WRIGHT MED_ICAL                                                  (3) Breach of Warrarity
            TECHNOLO"GY, INC:.;a corporation;                                               (4) Loss of Consortium
    15      ADVANCED' SURGICAL DEVICES,
            INC.; a California Corporation, WILLIAM                                         JU]l2Y TI2IAL DEMANIDED
    16      ZUR.OWSKI, FRANK VELAZCO, and
            DOES I to I OO,. inclusive,
    17                                                                                   [AMOUNT DEMANDED EXCEEDS
                                                                                         S25, 000]
    1.8,                               Defendants..
    19
                          Plaintiffs. JAMES SHAW.and LISA SHA,ViT bring this action against WRIGHT
    20
           MEDICAL GROUP, INC., a corporation, WRIGHT MEDICAL TECHNOLOGY, INC., a
    21
           corporation; ADVANCED SURGICAL DEVICES; INC,, -a California corporation, WILLIAM
    22
           ZUROWSKI, FRANK VELAZCO, and DOES 1 to 100, inclusive (collectively hereinafter
    23
           referred to as "Defendants") and alleges as follows:
    24
                                                            GENERAL ALLEGATIONS
    25
                          l.         At all relevant times, Plaintiffs JAMES SHAW and LISA SHAW are and were
    26
           residents of the State of California.
    27
                          2.         Defendant Wright Medical Group, Inc., a corporation, is a citizen of the State
    28
           of Delaware (where incorporated) and the State of Teruxessee (principal place of business), and is


                                                                           COMPLAINT
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 1 the parent company of Defendant Wright Medical Technology, Ine., a corporation, which is a
 2   citizen of the State of Delaware (where incorporated) and the State of Tennessee (principal place
 3   of business), collectivelyreferred to hereinafter.as the "WRIGHT" Defendants.
 4               3.       Defendaiit Advanced Surgical Devices, Iiic. is a California corporation with its
 5   principal place of business in Los Angeles, Califonnia. At all relevant times, said Defendant was
 6   a Califorriia-liased distributor or sales representative of orthopedic products manufactured by
 7   Defendant Wright IVledical Technology, Inc., including the Wright Medical Profemur hip
 8   products .in- issue in, this civil action.

 9               4.       Defendant WILLIAM.ZUROWSKI (".ZLIR.OWSKI") is-resident and citizen of.
10 State of'California, with his principal place of business at 227 Palisades Ave, Santa Monica, CA
11   r•1~1


12               5.       Defendant FRANK VELAZCO ("VELAZCO") is resident and citize.n of State
13   of California, with his principal place of business at 3775 Ashwood Ave:, Los Angeles,
14 California 90066.
15               6.       Directly or through its aforesaid subsidiar'ies, Defenda.nts Wright Medical
16   G_roup, Iiic., and Wright Medical Technology, Inc., designed, manufactured, distributed and sold
17 in C'alifornia various orthopedic hardware systems "including the Profemur Z hip prosthesis
18 components at issue in this case.
19               7.       The Profemur Z-hip prosthesis components were approved for marketing by
20 the Food and'Di-ug Administration via its:510(K) Premarket Notification procedure filed by one
21   of. the, "Wright" defendants, and therefore defendants are not exempt from suit in State Court.
22               8.       The true names and capacities, whether individual, corporate, associate,
23 governmental or otherwise of DOE 1 to DOE 100, inclusive; are unknown to Plaintiff at this
24 time, who therefore sue said defendants by such fictitious names. When the true names and
25 capacities of said defendants are ascertained, Plaintiff will amend this Complaint accordingly.
26 Plaintiff is informed aiid believes, and thereon allege, that each of the defendants designated
27 herein as a DOE was and is responsible in some manner for the events and happenings herein
28 referred to and their conduct directly, proximately and legally caused the injuries and damages

                                                        2
                                                   COMPLAINT
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 1   sustained by Plaintiff as herein alleged, either through said defendants' own conduct or through
 21 the conduct of tlieir agents, servants, or employees, or in sorne other manner.
 3              9.      At all times herein mentioned, each defendant named herein was and is the
 4   duly authorized agent, eznployee, servant, partner and/or joint venture of the other co-defendants,
 5   acting within the course and scope of said relationship. Further, when acting as a principal, each

 6   defendant approved, consented to, and ratified the acts and conduct of his, her or its

 7 co-defendants.

 8                                       I+`ACTIJAT. CONTENTIONS

 9              1.0.    In 2003 Plaintiff, JAMES. SHAW underwent staged 'implantation of bilateral.

10   "Wright" modular neck, Profemur Z stem and monoblock metal cup hip prostheses.

11              11.     Specifically; the femoral components were dual modular Profemur Z size 4

12   steins coupled with "Wright" Profemur chromiuni/cobalt lorig iiecks (hereinafter referred to as

13   the Profemur Z femoral components) all of which were manufactured and caused to be

14. distributed in California by defendants WRIGHT MEDICAL GROUP, INC., and, WRTGHT

15   MEDICAL TECHNOLOGY, INC.., Advaneed Surgical Devices, Inc., WILLIAM ZUROWSKI

16   and FRANK VELAZCO. At the t'itne the femoral components w.ere'implanted in Plaintiff, they

17   were in the sarne condition. in all respects as when if left the Defendants' control:

18              12.     Both implants failed result'ing in the dissemination of inetallic debris into the

19   tissues surrounding the implants.

20              13.     As a result of the failure, Plaintiff required right hip revision surgeiy on or

21   about July 26, 2018 and the left hip revision surgery occurred on or about January 14, 2019..

22

23                                       FIRST CAi7SE OF ACTION

24   (By JAMES SIIAW For Strict Products I,iability Against I)efendants Wr'aght Medical
     Group Inc., and Wright IViedical Technology, Inc., for defectively designing,
25   manufacturing, and failing to warn of the potential for breakage of the dual modular
     Profemur Z femoral component as desci-ibed above.)
26
27              14.     Plaintiff re-alleges and incorporates herein by reference the above paragraphs 1

28   through 13 as if fully set forth within.


                                                        3
                                                  ('(1MPT .A iNT
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  1         15,   DESIGN DEFECT
  2               A: CoWuxiiier Expectation Test
  3               1. Plaintiff claims that theproducts"A'esign-w"as defective because iho
  4               -product did not perform as saf6ly as. an ordinary consumer would, have
  5               expected it to perf6im. Specifically,, Plaintiff"who Was ati otdinaiy co'hsWner,
  6               for-med a reasonable minimum'saf6tyexpectation fhat the 1up implant.
  7               components, manu.factured, by the Def6ndants, would, not corro-d'e. an
                                                                                       .d reloase
  8               metallic',debris into: thc- surrounding fissub, cAWein
                                                                       i g z6vdd- tissue, damage. and
  9               .necessitating premature surgiedl-removal.,
l'O               2. Pfairitiff,fuither allege$ that Defendants manufact ed di8tributed 'And sol-d
11                the,gubj e6t produot in, Califomia. Plaiiitiff alleges that the product -di d not
12                pQrform as ,qafply qs an ordinary consumer, would have oxpQcted it to perform,
11 3,             WJion usedin tho,maimor. ihteiided by the nianiffiq6turet. Plaffitiff fint'her
14                cbritendS, that he was hanned by the de.fecfivq,d esigq of thp: prodoet when'it
15                corroded, 4nd released, metallic- debtis intothe gutTouhdlng tis'sue c'ausing
-16               sdvOrO tissue damage and,requiring, revision surgery. Plaiiltiff contens that ,the-

17                pro,auqs' failurp to pprfQrm &.46, iv was a,substantial ll fdctor". and the only., factor
118.              iwoausina Plaifttiff sharni as stated hetein.
19;         16.   Risk Benefit'Test

20,               L,   Pla.intiff claims, that the producVs4egigric-aused, hatm t6Tlaintiff.
2.1               PlAiiitiff contends. that Dofendants manufactured, distributed and sold the
22                subjeqt product in Callifornia. Plaintiff contorfds that.he, was harnied bythe

23                prodpot, as a.result o.f its design when it corroded and released metallic debris
24                into the tissue surroun(ling the, implants, causing severe tissue damaae and
25                necessitating surgical revision well before the intended and reasonable life
,26               expectancy, of the products. Plaintiff contends that the products' design was a
27                substantial factor, and the only factor, in causing his harin as 8tated herein.
28          17.   Failure to Warn


                                                    4
                                              COMPLAINT-
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 1                       1. P-laintiff claimsthat the dual modular Piofemur Z femoral component
 2                       lacked; sufficient warni'ng of its potential risk for corros'ion: Plaintiff contends
 3                       and alleges tihat the dual modular.Profemur Z femoral cotnponent had a.
 4''                     substantial risk of corroding `tliat was known anct/or knowable by tlie use of
 5                       scientific knowledge: available at the time of the manufacture, distribution;
 6:                      and/or sale. Plaintifffurther contends that`the po.tent'ial risk of corrosion
 7                       preserited, a.substantial danger to users of the.dual,riaodular Profemur°Z feirioral
 S~                      components that ordinary consumers could not have recognized. Plaintiff
 9                       fiu-tlier., contends, and alleges that Defendants failed to adequately warn of the
10.                      pofiential xisk ofthe dual modular Profeinur Z feinoral coniponents in a way
11                       that-was reasonably foreseeable to Defendarits.
12                       2. As a result; Plaint'iff'was preven.ted from making an informed decision.
1:3                      abo.ut which irnplant he would. allow to be 'implanted in his body. Had he been
14                       adequately informed;:Iie would have chosen a safer alternate design that had a
15                       track recor.d of success.
16                       3~.   Plaintiff was harmed -and the lack of sufficient warings wasl a substantial

17                       factor in. causing Plaintiff s haarm,
                  l$.    As a.direct, proxirriate.,, and legal result of the actions of Defendants described
        herein, Piaintiff JAMES SHAW suffered debilitating injury which required two .(2) i;nvasive
20 revis'ion surgeries, which caused Plaintiff to suffer from past and fizture physical pain, .znental
21 suffering; loss of erijoyment of life,, disfigurement, physical impairment, discomfort,:
22 inconvenience, anxiety, humiliation, and emotion distress:
23                19.     As a further direct, proximate, and legal result of defendant's negligence. as
24 I described herein, Plaintiff has incurred past medical expenses and will incur future medical
25 I expenses in an amount to be ascertained.
26     I ///

27 I

28                                      SECOlOTD CA1lJSE ®I'+ ACT][®1!T


                                                          5
                                                     COMPLAIAIT
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      (By JAME"S S)fIAW for Negligenee Against Defendants Wi-ight Medical Gr®up, Inc., and
      Wright Medical Technology, Inc.)
 2
                 20.     Plaintiff. JA1v.tES. SHAW re-alleges and incorporates the above paragraphs 1.
 3
      through 19 as if fu11y set forth hereiri.
 4
                 21.     Defendants owed a duty of reasonable care to Plaintiff JAMES SHAW to
 5
      design, manufacture, sell, and/or distribute the dual modular Profemur Z femoral components as
 6
      described above, in a condition that was safe for its intended purpose. Defendants' duty includes
 7
      a duty to ensure"that the dual modular Profemur Z femoral components did not cause users to
 8
      suffer- from failure oiice implanted. Defendants failed to exercise ordinary care in the
 9
      manufacture,, design, sale, testing, quality assurance, quality control, marketing, and/or"
10
      distribution of the dual modular Profemur Z femoral componerits in that Defendants knew or
11
      should have known that the defective dual "modular Profemur Z femoral components created a
12
      risk of failure that could result in painful and debilitat'ing injury, which could only be alleviated
13
      by revisioii surgery.
14
                 22.     Defendants breached their duty to Plaintiff JAMES SHAW'in the testing,.
15'
      design, manufacture, packaging," warning, advertising, promotion, distributioii and sale of its dual
16
      modular Pr.ofemur Z femoral components in that Defendants failed.to use ordinary care in
17
      designing and rnanufacturing the "dual modular Profemur Z femoral components so as to avoid"
18
      tlie manufacturing "and design defects that cause the dual ino.dular Profemur Z femoral
19
      components to fail.
20
                 23.      Defendaiits also breached their duty to Plaintiff JAMES SHA.W by failing to
21
      properly design, manufacture, inspect, and/or prepare the dual "rnodular Profemur Z femoral
22
      components that were implanted into Plaintiff and others similarly situated.
23
                  24.     AlthoughDefendants knew or should have known that the dual modular
24
      Profemur Z femoral components were defective and could fail, Defendants failed to, warn the
25
      medical community and the public of said risk. Defendants knew or reasonably should have
26
      lenown that the dual modular Profemur Z femoral components were dangerous or were likely to
27
      be dangerous when used in a reasonably foreseeable manner. Defendants knew or reasonably
28
      should have known that users would not realize the danger and Defendants failed to adequately

                                                         6
                                                   COMPLAINT
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 1        wam of the danger. A reasonable,manufacturer, distributor,. and/br seller under the same or
 2        similar circumstanods: wo-uld have warned of the danger. As a result of the'negligont. failure to
          wain, Plaintiff was harmed. Defelidants ' failute to watil was a substantial fEictor in-,causing
 4        Plaintiff's hartn.
 5                   25.       Defend'ants- knew or'should have known'that consuMdrs such as Plgntiff
 6        JAMES SHAW riskedinj ury as a result of Defendants' failure'to elxcrcise ordinary care as

 7    I   described above.

.8                   26.       Plaintiff fatthet alleges that Ddfendaiits knew or should have kn.own of thp

 9        dual madular Profe-mur, Z femoral, components' defeptive nature, as set for-th herein, but

10        pontinued to manufacture, design , market, and 8ell the diial modulat Pk6fomur Z femoral
           I
11,       c omporients, so, as to mtLximize sales and profits, dt the ex-oense of the health -And safety of the

12        public, including Plaintiff, in conscious or recicless.distegard of the foreseeable harrilchused by

0i        tho, defective dual inodular Pfof6rnur Z -f6motal componetits.
14                   21.       As a, dilr-ect. Droximate, and l- egal result of Dofendant,s`negligenceas describ-ed
15        herein, Plaintiff JAMES SHAW suffered debUitating injtiry whioh required two(2) invasive

16        revision surgeries, which caused Plaintiff to suffi6r froin past and future. phyg ical pain, niental

17        suffering, loss of enjoyment of life, disfigurement, physical impairment discomfort

18        inclonvenience, anxiety, hu miliation, and emotional distfess.

19                   28,       As a ftther direct, pyoximate and legal re5ult,ofdefendant's negligenct as

20 I described herein, Plaintiff has incurred past medical 6xponses and Will.incur future medical

21        expenses in an amouftt to be ascertained.

22                                            THIRD CAUSEOF ACTION

23        (By JAMES S-HAW for Breach of Wartanty Against Defendants Wright Medical Group,
          Inc. and, Wright- Medical Technology, Inc.)
24
25                   29.       Plaintiff JAMES SHAW re-alleges and incol-porates the above paragraphs 1

26        through 28 as if fully set forth herein.
27                    30.      Plaintiff contends that he was hanned by the dual modular Profemur Z

28        femoralcomponents because it did not have- the quality that a buyer would expect and/or that it


                                                               7
                                                                -
                                                         COMPLAfNT
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      was not suitable for, its intendod purpose.
 2               3,11-.   Defendants impliedly warranted that they would sell and deliver tl-ie dual
 3    modular Profemur Z femoral, components- that were fit for -the particular purposes for which they
 4    were intended.. Defendants also knew that Plaintiff JAMES SIHAW and his pl-iysician intended to,

 5,   use the dualmodular Profeniur Z femotal components fot the paiticidar purposje of hip
 ,6   -replacement.

 7               32.      I'laintiff JAMES SHAW aqd Iiis physicianrelied upon Defendants' skill
 .8   and/orjudgment in furnishing a suitable duatmodular ProfemurZ, -femotat componerit&..

 9               33.      Defendants by, selling .4qd 4elivering defective; dual m0 dtilar Profeinur Z

1.0- femoral compoftents, which were, uged. durin'g Plainfiff's surgery, breachod the implied

III   'warranties of merchantability and fitnless in that the defective, dual modular Profernur Z femoral
12    components presented an unreasojiable risk of fdilure resulting in pain, discomfort, ankiety.
13    emotioiial distress'. -partial disability, aiid the necessityof painfu , 1,.inVasive surgeryv.
14               34..     As a direct, -proximate,, andjpgal result of defeiidanV s actions- as desceibed
15    heribin, Plaintiff JAMES SHAW suff6red debilitating injury which required two (2) invasiv6
16    r,pvision surgeries, whiclicaused Plaintiff
                                               - to suffer from past,and future physical pain, mental
1.7   suffering,, loss of enjoyment of life, disfiguremQnt, physical impain-nent discomfort
I&    inconvenleiice, anxiety,, humiliation,, aiid emotional di'stress, andwas ediised to suffer ftofn, atid

19    cont'inues, to suffer from emotional distress, pain, discomfort, and anxiety.

20                35.     As a ftirthet.direct, pfoxiriiate, and legal reatilt of def6ndant's, negligence, as

21    describedherein, Plaintiff has incurred medical experises and will incur future medical expeilses

22    in an amount to be ascertained.
23                                       FOURTH CAUSE OF ACTION
24    (By )<.,ISA SHAW for Loss of Consorti-um Against Defendants Wright Medical Group, Inc.
      and WrightMedical Technology, Inc.)
25
                  36.     Plaintiff LISA SHAW re-alleges and incorporates the above paragraphs I
26
      through 3 5 as if fully set forth herein.
27
                  37.     At all relevant time periods, including 200') when the hip implants were
28
      insei-ted, the Plaintiffs, LISA SHAW and JAMES SHAW, were married and coiitinue to be


                                                      COMPLAINT
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      I married.

                   38.    As a result of the wrongful and negligent acts.of the Defendants, and each of
       them, the Plaintiffs were~ caused to suffer, and wi'll continue to suffer in the future, loss of
       consortium, .loss of love, companionship, conifort, care, assistance, protection, affection, society,
       moral support, and the enjoyinent of sexual relations, all to the detriment of their marital
 6     relationship.

 7                 39.    That all the injuries and damages were caused solely and proximately.by the
 8     negligent and wrongful acts of the'Defendants.

 9                 WHEREFORE, Pla'intiff requests the following relief.
10                 Gn the First through Third Causes of Action by Plaintiff JAMES ST-IAW
11                 Against All Defendants;
12                        ("a) General damages in an amount according to proof;
13:                       (b) Special damages according to proof;
14                        (c) Inte"rest, costs and expenses in:this litigation;
15                        (d) pre judgment interest on the amount of damages attributable to personal
16                        injury pursuant to Civil Code section 3291; and
17                        (e) siich other and. fiu-ther relief as may be just and proper:
18                 On the Fourth :Cause of Action by Plaiattiff LISA SIJAW
19                 Against All Defendants:

20                        (a) General damages in an amount according to proof;

21                        (b) Special damages according to proof;

22                        (c) Interest, costs and expenses in this litigation;
23                        (d) pre judgment interest on the amount of damages attributable to personal
24                        injury pursuant to Civil Code section 3291; and
25                        (e) such other and further relief as may be just and proper.
26
27                                         JURY TRYAL I)ENIAI'TI)E]®
28                 Plaintiff hereby demands a trial by jury as to all claims and causes of action.


                                                          1
                                                          0
                                                     COMPLAINT
Case 2:20-cv-01644 Document 1-1 Filed 02/20/20 Page 27 of 65 Page ID #:39




 2.
                                               THE V-ARTAZARIAN LAW
                                                                  , FIRM
 3,
 4
       -Dated! October. 7, 2019
                                               Steven.R. Vart,azlari-an, Esci.
 .6,                                           Matthewl. Whibley? Esq.
 71
   1                                           Nkho-lAg M. Maxwell, Esq.

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                                     COMPLAINT
                       CaseCourt
~ctronically FILED by Superior 2:20-cv-01644              Document
                                 of California, County of Los               1-1
                                                              Angeles on 1 0/1       Filed 02/20/20
                                                                               5/2 0 11~g:QWgftrri              PageOfficer/Clerk
                                                                                                   R. Carter, Executive 28 of 65       Page
                                                                                                                                  of Court,        ID #:40 Clerk
                                                                                                                                            by R. Clifton,Deputy

                                                                                                                                                                      CM-010
            ATTORNEY OR PARTY WITHOUT ATTORNEY (Name. State Bar number and address):                                                 FOR COURT USE ONLY
              Steven R. Vartazarian, Esq. (227635), Nicholas M. Ivlaxwell, Esq. (283575)
              THE VARTAZARIAN L.AW FIRM
              15250 Ventura Blvd., Suite.505
              Sherman Oaks, CA 91403
                                      !t
                  TELEPHONE NO.: XXX-XX-XXXX                  FAx No.: 818-990-6:124
             ATTORNEY FOR (Name):        Plallltlif
           SUPERIOR COURT OF CALIFORNIA, COUNTY OF              Los Angeles
                  STREET'ADDRESS: 312 NOrth SprlIlg Street
                  MAILING ADDRESS: saIIle
                CITY ANDZIP CODE: LOS Angeles
                      BRANCH NAME: Sprlrlg       Street Courthouse
              CASE NAME:
             James Shaw, et al v. Wright Medical Group, Inc., et al
                                                                                                                    CAS.ENUMBER:
                 CIVIL CASE COVER SHEET                                     Complex Case Designation
            57~ Unlimited      E-1              Limited
                                                                       ~ Counter            ~ Joinder
                 (Amount                         (Amount
                                                                                                                     JUDGE
                 demanded                        demanded is           Filed with first appearance by defendant
                 exceeds $25,000)               $25,000 or less)           (Cal. Rules of Court; .rule 3.402)         DEPT:
                                                      Items 1-6 below must be completed (see instructions on pacie 2).
               Check one box below for the case type that best. describes- this case:'
               Auto Tort                                      Contract                                       Provisionally Complex.Civil Litigation
               0 Auto (22)                                    0 Breach_of contractlwarranty:(06)             (Cal. Rules,of Court, ruies 3.400-3.403).
               ~ Uninsured-motorist (46),                           Rule 3:740 coliections (09)              0 Arifitrust/Trade regulation (03)
               OtherPI1PD/4ND (Personal lnjury/Property       0 Other collections (09)                       ~ Construction defect (10)
               DamageNVrongfui Death) Tort                    0 Insurance coverage (18)                      Q Mass tort (40)
               0 Asbestos (04)                                      'Other contract (37)                     0 Securities litigation'(28)
               ~✓ Product liability (24)                      Real Property                                  0 EnvironmentallToxic tort (30)
               ~ Medical maipractice (45)                    .E::] Eininent domain/Inverse                   0 Ihsurance coverage ciaims arising from the
               0 Olher PI)PDMlD (23)                                condemnation (14)                              above listed provisionaily compiex case
                                                              C]    Wrongful   eviction (33)                       types (41)
               Norr-PI)PDIWD (Other) Tort
                                                              E::]  Other real prope,rty (26)                Enforcement of'Judgrnent
               0 Business tbrt/unfair business practice (07)
               ~ Civil rights (08)                                   Unlawful Detainer                       ~ Enforcement of judgment. (20)
               0 Defamation (13)                                     0 Commercial (31)                       Miscellaneous Civil Complaint
               ~ Fraud (16)                                          0 Residential (32)                      ~ RICO (27)
               ~ Intellectual property (19)                          0 Drugs (38)                            0 Other compiaint (not specified above) (42)
               0 Professional negiigence (25)                        Judicial Review                         Miscellaneous Civil Petition
               ~ Other non-Pl/PD/WD tort (35)                        ~ Asset forfeiture (05)                 ~ Partnership and corporate governance (21)
               Empioyment                                            ~ Petition re: arbitration award (11)   0 Other petition (not speci>ted above) (43)
               0 Wrongful termination (36)                           ~] Writ of mandate (02)
               0 Other employment (15)                               n Other iudicial review (39)
           2. This case L—J is        U is not complex under rule 3.400 of the:California Rules of Court. If the case is complex, inark the
              factors requir'ing excepfional judicial management:
                a.            Large number of separately represented parties           d.     Large number of witnesses
                b. 0 Extensive motion practice raising difficult or novel e. 0 Coordination with reiated actions pending in one or more courts
                              issues that will be time-consuming to resolve                   in other counties, states, or countries, or in a federal court
                c.           Substantial amount of documentary evidence                f. 0 Substantial postjudgment judicial supervision
           3. Remedies sought (check all that appfy): a.® monetary b.0 nonmonetary; declaratory or injunctive relief c. = punitive
           4.. Number of causes of action (specify): Four (4)
            5. Tfiis case 0 is                 ® is not a class action suit.
            6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
            Date: October Vt , 2019
           Nicholas M. Maxwell, Esq.                                                          ~

              . Plaintiff must file this cover sheet with the first paper fiied in the action or proceeding (except small ciaims cases or cases fiied
                 under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Ruies of Court, rule 3.220.) Faiture to file may resuit
                 in sanctions.
              ® File this cover sheet in addition to any cover sheet required by local court rule.
              ~ If this case is compiex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
                 other parties to the action or proceeding.
              ® Unless this is a collections case under rule 3.740 or a compiex case, this cover sheet will be used for statistical purposes onl~r.
                                                                                                                                                                         age 1 of 5

            Form Adopted for Mandatory Use                                                                              Cal. FiUles ot Coun, rUles 2.3U, 3.220, 3.4UU-3.qU3, J.f9U;
              Judicfal Council of Cafifomia
                                                                      CIVIL CASE COVER SHEET                                    Cal. Standards of Judicial Administralion, std. 3.10
              CM-0101Rev. July 1, 2007]                                                                                                                      vnvw.courfinlo.ca.gov
            Case 2:20-cv-01644 Document 1-1 Filed 02/20/20 Page 29 of 65 Page ID #:41

                                                                                                                                          CM-010
                                   INSTRUCTIONS OfV HOVV TO COMPLETE THE COVER SHEET
 To Plaintiffs and Othets Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
'complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
 -statistics about the types and numbers of cases filed'. You must complete items 1 through 6 on the sheet. In item 1, you must check
  one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
  check the more specific one. If the case has multiple causes of action, check the box that best indicates, the primary cause of action.
 To assist you in completing the sheet; examples of the cases that belong under each case type in item 1 are provided below. -A cover
 sheet' must be filed only wifh your initial paper. Failure to file a co5er sheet with the first paper filed in a civil. case may subject a party,
 its counsel, or both to sandtions under rules 2.30 and 3.220 of the California Rules of Court:
To. Parties in Rule- 3.740 .Collections Cases. A"collections case" under rule 3.740 is defined as an action for recovery of money
 owed in a sum stated to be certain thaf is not more than $25;000, exclusive of interest and attorney's fees, arising from a transaction in
 which property., services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
 damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ: of
 attachment. The identification of a case ,as a rule 3.740 collections case'on this form means that it will be exempt from the general
 time-for-service requirements and case management- rules, unless a defendant files a responsive pleading. A rule 3.740 collections
 case will be subject to the requirements for service and obtaining a judgment in rufe.3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Ci.vil Case Cover Sheet to designate whether'the
cas.e is. complex. If:a plaintifE believes the case is c,omplex under rule 3:400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case, as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may flle and serve. no later than the time of its first appearance a joinder in the
plaintifYs designation, a codnter-designation that the case. is not complex, or; if the plaintiff has made no designation, a designation that
Ihe case is compl.ex:                                         CASE TYPES AND EXAMPLES
Auto Tort                                         Contract                                           Provisional►y Complex Civil Litigation (Cal.
    Auto (22)-Personal Injury/Properiy                 Breach of ContractNVarranty (06)              Rules of Court Rules 3.400-3.403)
         DamageNVrongful Death                              Breach of Rental/Lease                         AntitrusUTrade Regulation (03)
     Uninsured Motor'ist (46) (if the                            Contract (not 'unlawful detainer          Construction Defect (10)
          case involves an uninsured                                or wrongful eviction)                  Claims Involving Mass Tort (40)
         motorist claim subject to                          ContractNVarranty Breach-Seller                Securities Litigation (28)
         a'rbitration, eheck this itern                         Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
         instead ofAuto)                                    Negligent Breach of ContracU                   Insurance Coverage Claims
Other PI/P131WD (Personal Injury/                                Warranty                                       (arisfng from provisionally. complex
P.roperty. DamagetltYr'ongful Death)                       Other Breach,ofrContractNMlarranty                   case type listed above) (41)
Tort                                                   Collections (e.g., money owed, open            Enforcement of Judgment
     Asbestos (04)                                          book.accounts) (09)                            Enforcement of Judgment (20)
         Asbestos Property Damage                           Collection Case=Seller    P[aintiff                 Abstract of Judgment (Out of
                                                            Othet Promissory Not'e/Collections                        County)
         Asbestos Personal lnjury/
               Wrongful Death                                    Case                                           Confession of Judgment (non-
                                                       Insurance Coverage (not provisionally                          domestic relations):
     Product Liability'(n"ot asbesEos or
         toxic%nvi'ronmental) (24)                          Compfex) (18)                                       Sister State Judgment
     Medical Malpractice (45)                               Auto Subrogation                                    AdministratiVe:Agency Award
         Medical Malpractice=                               Other Coverage                                          (not unpaid taxes)
                Physicians & Surgeons                  Other Contract (37)                                      Petition/Certification of Entry of
          Other Professional Health Care                    Contractual Fraud                                       Judgmenton Unpaid Taxes
                Malpractice                                 Other Contract Dispute                              Other Enforcement of Judgment
                                                  Real Property                                                       Case
     Other PI/PD/WD (23)
                                                       Errminent Doma[n/Inverse                       Miscetlaneous Civil Comp[aint
         Premises Liability•(e.g.,.s[ip
                                                            Condemnation (14)                              RICO (27).
                and fal[)
          Intentional Bodi[y Injury/PDNVD              Wcongful   Eviction  (33)                           Other'Complaint (not specified
                                                                                                                above) (42)
                (e.g., assault, vandalism)             Other Rea[ Property (e.g,, quiet title) ,(26)            Declaratory Relief Only
          Intentional Infliction of                         Writ of Possession of Rea[ Property                 Injunctive Relief Only (non-
                Emotiona[ Distress                          Mortgage Foreclosure.                                     harassment)
          Negligent Infliction of                           Quiet Title                                         Mechanics Lien
                Emotional Distress                          Olher Real Property (not eminent                    Other Commercial Complaint
          Otlier PI/PDlWD                                   domain; landlord/tenant, or                               Gase (non-torf/non complex)
 Non-PI/PDlWD (Other) Tort                                  foreclosure)
                                                                                                                Other Civil Complaint
     Business Tort/Unfair Business                Unlawful    Detainer                                               (non-tort/non-complex)
        Practice (07)                                  Commercial (31)                                 Ntisceltaneous Civil Petition
     Civil Rights (e.g., disc(mination,                Residential (32)                                    Partnership and Corporate
         false arrest) (not civil                      Drugs (38) (if the case involves illegal                  Governance (21)
          harassment). (08)                                 drugs, check.this i.tem; othenroise,           Other Petition (not specified
     Defamation (e.g:; slander, libel)                      report as CommerciaT or Residentialy                above) ( 43)
           (13)                                    Judicial Review                                              Civil Harassment
     Fraud (16)                                         Asset Forfeiture (05)                                   Workplace Vio[ence
     Intellectual Property (19)                        Petition Re: Arbitration Award (11)                      Elder/Dependent Adult
     Professiona[ Negligence (25)                       Writ of Mandate (02)                                          Abuse
         Legal Malpractice                                  Writ-Administrative Mandamus                        Election Contest
         Other Professional Malpractice                     Writ-Mandamus on Limited Court                      Petition for Name Change
              (not medical or legal)                            Case Matter                                     Petition for Relief From Late
      Other Non-PI/PD/WD Tort (35)                          Writ-Other Limited Court Case                             Claim
 Employment                                                     Review                                           Other Civil Petition
     Wrongful Termination (36)                          Other Judicial Review (39)
     Other Employment (15)                                  Review of Health Officer Order
                                                             Notice of Appeal-Labor
                                                                Commissioner Appeals
CM-010[Rev. July 1, 2007]                                                                                                                   Page 2 of 2
                                                       CIVIL CASE COVER SHEET
                Case 2:20-cv-01644 Document 1-1 Filed 02/20/20 Page 30 of 65 Page ID #:42


 SHORT TITLE'                                                                                            CASE NUMBER
             'Shaw, et al v. Wright Mediceil, Group, Inc_ et al
                                                                                                    I

                              CIVIL. CASE'COVER SHEET ADDENDUM AND
                                     STATEMENT OF LO'CATION
                (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO;COURTHOUSE~ LOCATION)
                This form is required Outsuant lo Lo.cal.Rul.e 2.3 in all new civil case filings in the Los Angeles Superior Court.




      Step 1:,After completing the Civil-Case Cover Sheet (Judicial'Council form CM-010),find the exact case type in
                Colurrin A that corresponds to,the case type 1ndicated in the Civil, Case Cover Sheet.

                   ,
      Step 2: I'n Colurqn Bi. check. the 4ox f&the type of,action that best -describes. the nature of the case.


      Step 3: In Column'C, circle the number whichexplains.the reason forthe court filing location you have
              ch'oten.

                                              Applicable Reasons for Choosing Couet Filing Location, (Column C)
                            I                                                                                                             I
                                 I                                                      7.Lopafion where petifioner resides.
1. Class actlons must be filed in the Stanley Mmk Colurthbuse, Central Distdct..
2, Peffnissive filing in central district.                                              9. Locatiob w4erein defendant/respoindeint fundtfohs wholfy.

3.Locatiori whe
              ffe cause! of 'actioln arose,                                             9. Ldcatibn wherb one,or rhoira of the pafties reside.
  ,
4.Mandatory personal i'n'Jury filing 'ih North, Distdtt.                               106 LocEitibp of LqbQr Commi,ssi-on.er Office,
                                                                                       !1. Mandatory,filing location (Htib Cises — unlawful detainer, limited,
 'Location where perforMance required,or defendapl resles>
5.                                                                                     ridn-c6ilection,'limited
                                                                                                             ' coilection,orpetsoridi.injury).
6.Location of property or permanently garacied vehidid.




                                   A                                                       '8' .                                                        c
                      Civil, Case Cover Sheet                                          Type of Action                                         Applicable Reasohs -
                           Category No.                                               (Check only ghe)                                         5ee.,'Step ,3 Above

                                Auto (2 ,2)           0 A71.06 MotorVehiclO,- PC-rs,onlal,101yry!Ptoperty:Qbmage/wr6ngfuI Death               1,4,11

                                                                             -
                     Uhinsured'Moiodsi (46)           0 A711Q Persoqallnjury/Property Damago)Wrongibi Deaih — Unihsured Motorist              1,A, 11


                                                      11 A0070 Asb6stris Property Darnage                                                     1,11
                           Asibestos, (04)
                                                      D A7221 Asbestos - Personal lhjLfryAfVrohgful Death                                     1,11


                       Product Liability (24)         rZ A7260 Product Liabilfty (not asbestos or toxic/environmental)                        1,4,11


                                                      0 A7210 Medical Malpractice- Physicians & Sutgeons                                      1,4,11
                              ,
                     Medical Malpractice (45)                                                                                                 1.4,11
                                                      0 A7240 Other Professional Health Care, Malpractice


                                                      0 A7250 Premites Liability (e.g., slip and fall)
                                                                                                                                              1; 4,11
                          Other Piarsonal
                          Injury Property             0 A7230 lntentiohEil Bodily Injury/Property DamageNVrongful Death (e.g.,                1,4,11
                         Damaoe Wrongful                      assault, vandalism, etc:)
                            Death (23)                                                                                                        1,4,11
                                                      0 A7270 Intentional Infliction of Emofional Distress
                                                                                                                                              1,4,11
                                                           A7220 Other Personal lnjtjry/Property DamageiWrongful Death
                                                     1 0




    LACIV 109(Rev 2/16)                              CIVIL   CASE COVER SHEET ADDENDUM                                                   Local Rule 2.3
    LASCApproved 03-04                                     AND STATEMENT OF LOCATION                                                          Page 1 of 4
               Case 2:20-cv-01644 Document 1-1 Filed 02/20/20 Page 31 of 65 Page ID #:43


SHORT TITLE:                                                                                       SE NUMBER
               Shaw, et al v. Wright Medical Group, Inc., et al
                                                                                              F

                             A                                                        B                                               C' Applicable
                  Civil Case CoverSheet                                          Type of Action                                    Reasons-- See Step 3
                        Category No.                                            (Check only one)                                         Above

                     Business Tort (07.)        D A6029 Other Commercial/BusinessTort (not fraud/breach of contract)               1, 2, 3

                      Civil Rights (08)         ❑ A6005 Civil Rights/Discrimination                                                1, 2, 3

                      Defamation (13)           ❑ A6010 Defamation (slander/libel)                                                 1, 2, 3

                         Fraud_(16)             ❑ A6013 Fraud (no contract)                                                        1, 2, 3

                                                ❑ iA6017 Legal Malpractice                                                         1, 2, 3
                Professional Negligence (25)
                                                ❑ A6050 OtherProfessional Maipractice (not medical or legal)                       1, 2, 3

                         Other (35)             tj A6025 Other Non-Personal.lnjury/Property Damage tort                            1, 2, 3


     c           Wrongful Termination (36)      ❑ A6037 Wrongful Termination                                                       1, 2, 3
     d
     E
     T
    0                                           ❑ A6024 Other Employment Complaint Case:                                           1, 2, 3
    a             Other Employment (15)
     E                                          0 A6109 Labor CommissionerAppeals                                                  10
     w

                                                ❑ A6004 Breach of RentallLease Contract (not unlawful detainer or wrongful         2, 5
                                                         eviction)
                Breach of Confract/ Warranty                                                                                       2,5
                            (06)                ❑ A6008 ContractM/an-anty;Breach -Seller Plaintiff (no fraud/negligence)
                      .(notinsurance)                                                                                              1, 2, 5
                                                ❑ A6019 NegligentBreach of ContractNVatranty (no fraud)
                                                                                                                                   1, 2, 5
                                                ❑ A6028 Other Breach of Contract/Warranty (not fraud or negligence)

                                                ❑. A6002 Gollection"s Case,Seller•Plaintiff                                        5, 6, 11
                      Coltections (09)
                                                ❑ A6012. Other Promissory Note/Collections Case                                    5,11
                                                ❑   A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt               5, 6, 11
                                                           Purchased on or'after Janua 1', 2014
                  Insurance Coverage (18)       ❑ A6015 Insurance Coverage (not complex)                                           1, 2, 5, 8

                                                ❑" A6009 Contractual Fraud                                                         1, 2, 3, 5
                    Other.Contra,ct (37)        ❑ A6031 Tortious Interference                                                      1, 2, 3, 5
                                                ❑ A6027 Other Contract Dispute(not breachfinsurance/fraud/negligence)              1, 2, 3, 8, 9

                  Eminent Domain/Inverse
                                                ❑ A7300 Eminent Domain/•Condemnation               Number of parcels               2,6
                    Condemnation (14)
     M
                   Wrongful Eviction (33)       D A6023 Wrongful:_Eviction Case                                                    2,6

                                                ❑ A6018 Mortgage Foreclosure                                                       2,6
                  Other Real Property (26)      ❑ A6032 Quiet Title                                                                2,6
                                                ❑ A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)     2,6

                Unlawful Detainer-Commercial     ❑ A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)             6,11
                            (31)
                Unlawful Detainer-Residential
                                                ❑ A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)             6,11
                            32
                    Unlawful Detainer-                                                                                             2, 6, 11
                                                ❑ A6020FUnlawful Detainer-Post-Foreclosure
                   Post-Foreclosure 34
                Unlawful Detainer-Drugs (38)    ❑ A6022 Unlawful Detainer-Drugs                                                    2, 6, 11



  LACIV 109 (Rev 2/16)                          CIVIL CASE COVER SHEET ADDENDUIVi                                                Local Rule 2.3
  LASC Approved 03-04                              AND STATEMEIVT OF LOCATIOM                                                      Page 2 of 4
               Case 2:20-cv-01644 Document 1-1 Filed 02/20/20 Page 32 of 65 Page ID #:44


5HORT TITLE:                                                                                      CASE NUMBER
               Shaw, et al v. Wright Medical Group, Inc., et al

                              A.                                                         B                                 C Applicable
                    Civil Case CoverSheet                                          Type of Action                       Reasons - See Step 3
                         Category No.                                             (Check only ope)                            Above _

                     Asset Forfeiture (05)         ❑ A6108 Asset Forfeiture Case                                        2, 3, 6


                  Petition re Arbitration (11)     ❑ A6195 Petition to Corripel/ConfirmNacateArbitration                2,5
     3
     d
    .~
     a~                                            ❑ A6151 Writ - Administrative Mandamus                               2,8
    or
    ~.               V1!rit of Mandate (02)        ❑ A6152 Writ - Mandamus on Limited Court Case Matter                 2
    ~U
    'LJ
    ~                                              ❑ A6153 Writ - Other Limited Court Case Review                       2
    ~

                  Other Judiciai Review (39)       ❑ A6150 OtherWrit /Judicial Review                                   2.8


                Antitrdst7Trade Regulation. (03)   l7 A6003; Antitrust7Trade-Regulation                                 1, 2, 8

                   Consfruction Defect (10)        t] A6007 Construction Defect                                         1, 2, 3

                  Claims Involving Mass Tort
                                                   ❑ A6006 .Claims Involving Mass Tort                                  1,, 2, 8
                             (40)

                   Securities Litigation (28)      ❑ A6036 Securities Litigation Case                                   1, 2, 8

                         ToxicTort                 ❑ . A6036 ToxicTott/Environmental                                    1, 2, 3, 8
                      Environmental (30)

                 Insurance Coverage.Claiins        ❑ A601.4: '.Insurance Coverage/Subrogation(cbmplex,case only)        1,.2, 5,'8
                   from Complex Case (41)

                                                   ❑ A6141 'Sister State Judgment                                       2, 5, 11

                                                   ❑ A6160 Abstract of Judgment                                         2,6

                                                   ❑ A6107 ;Gonfession of Judgment(non-d"omestic.relations)            2„9
                         Enforcement
                       of Judgment (20)            ❑ A6140 Administrative Agency Award (not unpaid'taxes)               2,8
                                                   ❑ A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax     2,8

                                                   ❑ A6112 Other Enforcement of Judgment Case                           2, 8, 9


                           RICO (27)               ❑ A6033 Racketeering(RICO) Case                                      1, 2, 8.


                                                   0 A6030 .Declaratory Relief Only                                     1, 2, 8

                                                   ❑ A6040 Injunctive Relief Only (not domestic/harassment)             2,.8
                      Other Complaints
                  (Not Specified Above) (42)       ❑ A6011. Other Commercial Complaint Case (non-tort/non-complex)      1', 2, 8

                                                   ❑ A6000 OtherCivil Complaint (non-tort/non-complex)                  1; 2, 8

                    Partnership Corporation
                                                   ❑ A6113 Partnership and Corporate Governance Case                    2,8
                       Governance (21)

                                                   ❑ A6121 Civil Harassment                                             2, 3, 9

                                                   ❑ A6123 Workplace Harassment                                         2, 3, 9

                                                   ❑ A6124 Elder/DependentAdult Abuse Case                              2, 3, 9
                      Other Petitions (Not
                     Specified Above) (43)         ❑ A6190 Election Contest                                             2

   -=RLAI                                          ❑ A6110 Petition for Change of Name/Change of Gender                 2,7
                                                   ❑ A6170 Petition for Relief from Late Claim Law                      238
                                                   ❑ A6100 Other Civil Petition                                         2, 9




  LACIV 109 (Rev 2/16)                             ClVIL CASE COVER SHEET ADDENDUM                                    Local Rule 2.3
  LASC Approved 03-04                                 Ah1D STATEMENT OF LOCATIOh1                                        Page 3 of 4
                Case 2:20-cv-01644 Document 1-1 Filed 02/20/20 Page 33 of 65 Page ID #:45


 SHORT TITLE:                                                                          CASENUMBER
                 Shaw,, et al v. Wright Nledical Group, lnc., et al


Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for:the
            type of action .that yau ,have selected. Enter the address which is the basis for the filing location, including zip code.
            (No address required for class action cases).

                                                                      ADDRESS:
   REAsoN:                                                            3775 Ashwood Ave
    ❑1. ❑ 2. ❑ 3. ❑ 4. ❑ 5: ❑ 6. ❑ 7: ❑ 8. ❑ 9.010:211.



   GITY:                                     STATE:     ZIP CODE:

   Los Angeles                               CA        11 90066


Step 5: Certification of Assignment: I certifythatthis case is properly filed inthe Central                              District of
            the Superior Court of California, Coanty of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)'(E)].




  D ated: Octoberj'?- 2019.
                                                                                   (SIGNATURE'OF ATTORNEY/FILING PARTY)




  PLEASE HAVE THE FOLL011tlING ITEMS COMPLETED.AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COU.RT CASE:
       1. -Original Complaint or Petition.
       2. If filing a Complaint, a eompleted Summons form for issuance by`the Clerk.
       3. Civil .Case Cover Sheet; Judicial Council form CM-010.
       4:       Civil "Gase Cover Sheet Addendum and ;Stateriment of Location form, LACIV 109, LASC Appro"ve,d.03-04 (Rev:
                02%16)-.
        5. Payment in full of the filing fee, unless there is court order for waiver; partial or scheduled payments.
       6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
          minorunder 18 years of age will be required by Court in order to issue a summons.
       7. Additional copies of tlocumerits to be conformed by the Clerk. Copies of the coversheet and.this addendum
          must be senied along with the summons and complaint, or other initiating pleading in the case.




   LACIV 109 (Rev 2/16)                     CIVIL CASE COVER SHEET ADDENDIJIiN                                         Local Rule 2.3
   LASC Approved 03-04                         AND STATEMENT OF LOCATION                                                 Page 4 of 4
             Case 2:20-cv-01644 Document 1-1 Filed 02/20/20 Page 34 of 65 Page ID #:46
                                                                                              Reserved for
                 SUPERIOR COURT OF CALIFORNIA
                    COUNTY OF LOS ANGELES
 COURTHOUSEADDRESS:                                                                                     FIL--ED
Spring Street Courthouse
                                                                                          ~:~:lilll''rJf Lr.i_.~4fi1C1=~_Ja
312 North Spring Street, Los Angeles, CA 90012
                                                                                                   10. 1``I 5 )~20 19,
                   NOTICE OF CASE ASSIGNMENT
                                                                                                                              ORPA9i`'
                           UNLIMITEI) CIVIL CASE

                                                                                 A

  Your case is assigned for all purposes to the judicial officer indicated below. 19STCV36986


                            THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

               ASSIGNED JUDGE               DEPT      ROOM                  ASSIGNED JUDGE                   DEPT        ROOM
         Jon R. Takasugi                    3




    Given to the Plaintift%Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
    on 10/17/2019                                                        By Romunda Clifton                                   Deputy Clerk
                  (Date)
LACIV 190 (Rev 6/18)         NOTICE OF CASE ASSIGNINEIVT — UNLIiVIITED CIO/IL CASE
LASC Approved 05/06
             Case 2:20-cv-01644 Document 1-1 Filed 02/20/20 Page 35 of 65 Page ID #:47
                                   INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are sw-nmarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTIIER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIIVIE STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUSCONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT - UNLIMITE® CIVIL CASE
LASC Approved 05/06
  Case 2:20-cv-01644 Document 1-1 Filed 02/20/20 Page 36 of 65 Page ID #:48



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  4                       SUPERIOR CCpURT OF THE STATIE OF CALIFORNIA                                APR 16 ~08

  5                                FORTHE COUNnr OF LOS ANGEt,~~                                , -~
                                                                                      sh~ R. ~. _. - ~i~~, l   ~i.'''~
                                                                                                                         ,
  6,
   fN RE PERSOIVAL IN]URY          ) CASE NO,:
  7
   COURT ("PI COUR'f") PROCEDURES, }
 8 CIENT[IAL DISTEt1CT             ) STANDINCI ORDER RE: PERSONAL
   (EFFECTIVE APRIL 16, 2QI8)      ) INJUR'Y PROCEDURES, CENTItAL
 9                                 } DISTRICT
10 ~                                                 )
                                                     }
11
12
13                         DEPAIt'd'MIEN't': 2 3 4 S 7
14                              FINAL STATUS CONFE ,fcE ("FSC"}:
15 I
                              • DATE:                                    AT 10:40 A.IMI.
16 ~
                                                   TRtAL:
17
18                            • DATE:                                    A'I' 8:30 A.M.
19                       QSC RE DISIdiISSAL CQDE ClV. PROC.» -4 583.7I0):
20
                              '® DATE:                                   AT 8:30 A.M.
2].

22 ii         TO EACIi PARTX AND TO THE A'I"I'ORNEY OF REC+DRD FOIt EACH PART1f:
23            Pterseaont tea the Catifornla Code of CtvR proredure (•C.C.P.°t), tlaa rCidIfemln Itulcs '
24      nf Court (uC.II.C.'•) and Ibe Las Angaies County Caurt Ru1es (uYoca! Rul+:s"), tbc Los .
25 Angetes Sugartor Court ("LASC" or `°Court") AEItEDY AMENDS AND SUPERSEDES
26 ~    TIIE Al3GUST I01 2417 SEVENTH AMIENDED GENERAi, ORDER AND, GENERALLV, '
27 OISDERS AS FOLLOWS IN TEIIS AND ALi. OTHER GENEIUIL Ji3ItISDICTIt?N
2$      PERSOA)AL IN.IURY ACTIONS FILED fN THE CEN"I'RAI. DISTIiICT.


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                       StanIing Order Ra Pctsonal Injury Ptucedurus, Cr.ntral Destrict
     Case 2:20-cv-01644 Document 1-1 Filed 02/20/20 Page 37 of 65 Page ID #:49



                                                                                        2018-SJ-007-01




 1 1.         To ansure proper assignment to a PI Court, Piairntift(s) must carefuliy fill out the Civit
 2     Case Cover Sheet Addendum (foran LACIV 109). 'i'he Court defines "personal injury" as:
 3            "an unlimited civil case descritaed on the Civil Case Cover 5heet Addendum and
 4            Statement of Locaiion (L.ACIV 109) as Motor Vehicle-Personal InjurylProperty
 5            Darnage/Wrongfut Death; Personal InjuryJProperty Damage/Wrongful Death-
 6            l)ninsured Motorist; Product Liability (other than asbestos or
 7            toxiclenvironmental); Medical Malpractice-Physicians & Surgeons; Other
 B            Prafessional Health Care Malpmctice; Prnmises Liability, Intentional Bodily
 9            Injury/Propt.tfy Dumage/Wrongful Death; or Other Pe.rsona[ Injury/Property
10            DatnagclWrongful Death. An action for intentional infliction of emotionai
11            dishcss, defamation, civil rightsldiscrimination, or tnalprractice (other than
12            medical malpractice), is not incISrded in this delin'ttion. An aetion for injury to
13            real property is not included in this defmilion" (Locat Rule 2.3(a}{1)(A).)
14            Consistent with Local Ru1e 2.3(a)(1)(A), the Court will assign a case to the PI Courts if
15     plaintiff(s) check any of thc following boxes in the Civil Case Cover Sheet Addendurn:
16                       A7100 Motor Vehicle --Personal injury/Property ®amege/Wrongfui Death
17                       A7110 Personal Injury/Property Damage/Wrongfisl Death , -Uninsured
iB                       Motorist
19                       A7260 Pmduct Liability (not asbestos or toxiclenvironmental)
20                       A7210 Medical Maipractica — Physicians & Swgeons
21                       A7240 Medicul Malpractice ,-:Other Professional Health Care Malpractice
22                       A7250 Premises Liability (e.g., slip and fall)
23                       A7230 Intentional Bodily Injury/Properiy Damage/Wrongful Death (e.g.,
24                       assault, vandalism etc.)
25                       A7220 flther Personal Injury/Property Damage/Wrongful Death
25            TEie Court will not assign cases to the PI Couds if plaintiff(s) eheck any boxes elsewhere
27     in the Civil Case Cover Sheet Addrndum (any baxes on pages two and three of that form).
28 1ll                                                                                                     i


                                                    Page Z of8

                       Standing Order Rc Personal Injury Procedurrs, Central Dfstract
     Case 2:20-cv-01644 Document 1-1 Filed 02/20/20 Page 38 of 65 Page ID #:50



                                                                                                    2018-W-007-01



 1             't'he Court sets the obove dates in this action in the PI Court circted above (Departnient
  2    2, 3,4, 5, or 7) al tlae spring Street Courthouse, 3] 2 North Spring Street, Los Angeles, CA 90012.
  3    (C.R.C. Rules 3.714(la)(3), 3.729.)

  4    FtLING ®F DOCI.iME1A1'I'S
  5 Z.         Parties aaay ftte documents in person at the faling window on the first iloor ofttae Stanley
 5     Mosk Courthouse (111 N. Hill Street, Los Angeles, CA 90012) or by U.S. Mail or e-Dclivery,
 7     which is nvailable online at un4na.laeourr.om (iink on homepage). Pleasc note that filing,s arc no
 8     longer accepted via facsirnile and must be fYled eithcr in person, via U.S. snail or via e-Deliverg+
 9     Ciaims involving an gttomey-client fee dispute, docurnents in which the filing party is a minor,
20     legally incompetent person, or pemon for whom a conservator Itas been appointed, requests to
11 waive court fees (FUV-001) and requests for accommodations by persons with disabilities (MC-
I2     410), tltay not lse filed via c-Delivery.
13     SERltICE OF SIf1YIlVdONS AND COMFLr#INT
14    3.       Plaintiftts) shail scrve the summons and complaint in this action upon defendan!(s) as
15 soon as possible but no later than three vears from the date wben the complaint is faled.
16 (C.C.P. § 583.21+0, subd_(a).) On the OSC re Disntissal daie noted abovs, tlte P[ Court will
17    dismiss the action andlor s11 unserved parties uniess the plaintifl(s) show cause why the action
18    or the unscrved parties should not be dismissed. (C.C.P. §§ 583.250; 581, subd. (b)(4).)
19    4.      'Ihe Court sets the above trial and FSC datrs on condition that plaintift(s) effectuate
20    service on defendant(s) ofthe sumrnons and cmnplaint within six month.s of filing the complaint.
21    5.      The Pi Court wilI dismiss the case without prejud'ice pursuant tti C.C.P. § 581 whcn no
22    parcy appears 1'or trial.
23    ST1PglLAT1ONS TO CONTINUE'g'R1AL
24    6.      Provided that all parties agree (and there is no violatioaa of the "five-year tvle,•' C.C.P.
25    § 583.310), tlte parties rsiay advance or continue any trizd date in thee PI Courts without showing
26    good cause or articulating any reason or justiFtcation for the changc. To continue or advance a
27     trial date, the parties (or their cottnsel of record) should jointly execute and subtnil(at the filing I
28    window on the first floor of the Stanley Mosk Courthouse, via U.S. inail or via c-Delivery; fee


                                                        Page 3 of 8
                                  ....   ~. .._.m.~ .        ...   ....... ..............~~_   ~~              .
                        Stand'Ing C)rder 1Le Personal In,jury ProCtdures, Central District
     Case 2:20-cv-01644 Document 1-1 Filed 02/20/20 Page 39 of 65 Page ID #:51



                                                                                          201E-s.7-007



  1 required) a Stipulation to Contanue Trial, FSC and Related Motion/I)iscovery Dates (fonn

  2    LACIV CT1tL-243, available on the conrt's website, Personal Injury Court link). 7be PI Courts
  3 schedule FSCs for Y O:Ot) a.m., eight (8) court days before the trial date. Parties sccldng to
  9 i continuc the trial and FSC dates shall fite the Stipulation at Ieast eight courtt days before the FSC
  S~ data. Parties seeking to advance the trial and FSC dates shali file t4te Stipulation at least eight
  6~ couri days before the proposed advanced FSC date. (C.C.P. § 595.2; Govt. Code § 70617, subd.
  7    (c)(2).). In setecting a new traal date, parties should avoid setting on any Monday, or the Tuesday
  8    following a court holiday. Parties may submit a maximum of two stiputations to continue trial,
  9    for a total continuance of six months. Subsequent requests to contanue trial will be grassted upon
10 a showing of good cause by noticed motion. 'I'his :uic is retroactive so that any previously
11     granted stipulation to conntinue trial will count towarrd the maximum number of ailotved
12 lcontinuances.
13 l I+tO CASE 1VIANtiGEh!<ENT CONFERENCES
14 17.        The Pt Courts do not conduct Case Management Conferences. 77te parties need not t:ele
15 a Case Management staternent.
26     LAW AND d4gOTION
17     S.     Any documettts with declaratiosts anaior exhibits must be tabbed. (C.R.C. Rule
18 3. B 110(f).) AlI depositions excerpts referenced in bricfs must be enarked on the transcsipts
19 attached as cxhibits. (C.R.C. Rule3.l I ld(a).)
20 CDAMBERS COi'YES I2EQUIItED
21     9.     In additior to filing original rnotion papers at tfie frling window on the first iloor of the
22 Staniey Mosk Courtldouse, via U.S. mail or via e-13etivery, tlte parties maast deliver, directly to
23 the Pd Court courtrootns at the Spring Street Couethouse, an extra copy (marked "Chatnbers
24     Copy") of reply brsefs and aIl other motion papers t"iled tess tltan seven (7) court days before a
25 htaring calendared in the PI Couet.s. Thc PI Courts also strongly encouragc the partics ftling and
26 opposing lengthy motions, such as motions for sumsnaay judganentladjudicatinn, to submit one
27 i or more three•ring binders organizing the chambers copy behind tabs.
28    /!!



                                                  Page 4 0178

      ~~                Standing ®rder Re Personal lnjury Procedures, Central ®istrict         ~
         Case 2:20-cv-01644 Document 1-1 Filed 02/20/20 Page 40 of 65 Page ID #:52



                                                                                                                 201.8-SJ-007



     l     RESERVATIOt*I HEARIritG DATE
      2    10.     Parties are directed to reserve hearing detes for motions in tlae I'I Coutts using the Court
     3     Reservation Systena (CRS) availgbie online at ayssw.ta,ggtu•r.om (link on homepage). Afier
      4    reserving a motion hearing date, the reservation requestor must seabmit the papers for faling with
     5     the reservation receipt (CItS) tiutnber printed on the face page ofthe document aunder the caption
     6     attd attach tlte reservation receipt as the last page. Parties or counsel who ere unable to utilize
     7~ I the online CRS may reserve a traotion hearing date by calling the PI Court caurtroom, Monday
     a     throush Fsiday, between 3:00 p.m. and 4;00 p.m.
     9     WITHDRAWAL OF M®►TdONS
    la     11.     California Ru1es off Court, Ruie 3.1304(b) requires a raoving party to notify the court
    11     immediately if a matter wiil not be heard on tlte scheduled date. In keeping with that rule, the Pt
    12 Courts urge partirs who amend pleadings in response to dcmurrcrs to file arnended pleadings
,   23 before the date when opposition to the dernurrer is due so that tiie PI Courts do not tteedlcssly
    14     prepare tentative rulings on detnurrets.
    15     DISCOitERY MOTIONS
    16     12.     Tlte purpose atf an Infarmal Discovery Conference ("IDC') is to assist the patties to
    17     resolve and/ornsrrow the scope o f discovery disputes. Lead triai counsel on eachside, oranother
    R8     attomey with full authority to make bind{ng agreements, must attend in petson. The PI judges
    19     have found that, in nearly every case, the parties amicably resolve disputes with the assistance
    20 of the Court.
    21     13.     Pagties uaust participate in an IDC befare a Motion to Compel Further Resperosm to
    22     Discovety will be heard unless the moving pWy submits evidence, by tvay of declarsttioat, that
    23     the opposing party has failed or reFused to participate in an IDC. Sclteduling or participating in
    24     an IDC does not automaticaily extend any deadlines imposed by the Code of Civil Procedure for
    25     noticing and filing dascovery motions. ldeally, the parties sbould participate in an 1DC befora a
    26     motion is filcd becaaese the IDC may avoid the necessityof a motion or reduce its scape. Because
    27     of that possibiiity, attorneys are encouraged to stipulate to extend tho 45 (or 60) day deadllne far
    28     filing a rnotion to compel i'utiher discavery respostses in order to a91ow tirtte to pariicipate in an


                                                          Page 5 c~i`S                                                          I
          ~.,,~_ __._                               ~.~                  .~. _........ .......~,............ _
                            Sland'tng C9rder Re Personal Injtary Pmcedures, Centrai Distaict
     Case 2:20-cv-01644 Document 1-1 Filed 02/20/20 Page 41 of 65 Page ID #:53



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  1'l (f1C.
  21            !f parties do not stipulnte to extend the deadlincs, the movirsg party may faic the tnotioza
    I
  3' to avoid it being deemed euntiEnely. However, the IDC must take place before the motion is
  4~ lteard so it is suggrslcd that the moving party reserve a date fer ft motion hearing tYeat is at least
  S     60 dnys atter the date when the IDC reserva4ion is ntadc. ltiiotions to Compel Frtrther Discovery
  6     Responses are heard at 1 tkUO a.m. If the 1DC is not productive, the rnoving pariy rnay advance
  7     lhe hearing on a 1vlalion to Cornpel Fusther Iaiswvery Responses on any available hearing date
  ®     tkat complies with the notice recluirements of the Code of Civil Procedure.
  9     14.     Parties are directed to reserve IDC dates in the 1'I Courts using CRS ayssoiable online at
14 wwev.incourt.orn (link on homepage). Parlies are to meet and confer regarding tlte aveilable
11 dates in CItS prior to accessing the system. Aftsr reserving the IDC date, the reservetion
12 requestor rnust fi1e in the appropriate departinent and serve an Inforanal Discovery Conference
13 Form for Personal Injuay Courts, frorn LACIV 239 (revlsed 1 Z! 14 or Iater), at leasl 15 court days
].4     praor to thc conference and attaclt tfte CRS reservation receipt as the last page. The opposing
15 party rrtay file and serve a responsive IDC forrn, briefly setting forth that party's response, at
16      least IO court days prior lo tha 1DC.
17      15.     Time permitting, the Pi Hubjudges may be available to participate in IDCs to try to
is      nesolve other types of discovery disputes.
19 EX 1PAR'1'E APPLICA'CdONS
20      16.     Under the Califoraeia Ruies of Court, coucts mey only grant ex parte relief upon a
21 showing, by admissible evidence, that tlte taoving party wiil suflfer 'Ireeparable hacaat,"
22 °iinmediale danger," or where 4he moving party idendfies "a statutory basis for gmnting relief
23 ex par4e" (C,It.C. Itu1e 3.1242(c).) The 1'i Courts have no capacity lo hear multiple expcarte
24      applications or to shorten tirne to add hearings to their fully booked motiom cs;lendars. 'The PI
25 Courts do not regaazi the Court's utt®vailobility for tinaely motion hearings as an "imrnediate
26 ~dangee' or lhreat of'tirreparablc hnrm" justiPying ex parte retieF Izastead of seeking ex parre
27 relief, the moving party should reservc the earlicst available rnotion hearing date (even if it is
28 ' afler the scheduled trial date) and shouid 61e a mtion to continue trial. Parties should also check i


                                                     Page to of a

              ~ Stastding Drder Re Personal dnjury Procedures, Central I9istrict
      Case 2:20-cv-01644 Document 1-1 Filed 02/20/20 Page 42 of 65 Page ID #:54



                                                                                             2U18-5J-00


      1lithe Court Reservation Syslem frum time to tune because eat'lier haaring dates may bescome
      2 11 available as cases settle or heaadngs are taken offcalendar.
      3   REQUEST F'OR TRANSFER TO INDEPENDENT CALENDAR DEI'ARTMENT
.     4   17.     Parties seelting to transfer a case fram a:Pl Couri to an Independent Caicnder ("l!C")
      5   Caurt shall file (at the filing window on the first floor of the 5tanley MosEc Couailiouse, via U.S.
      6   mail or via c-Delivery) and serve the Court's "Motion to TranSfer Complicated Personal Injury
      7   Case to Independent Culendar Court" (form LACIV 238, available on the Court's website under
      8   the Pl Courts link). 17se PI Courts tviil transfer a matter to an I/C Court if the case is not a
      9   "Personal lnjury" case as deftned in this Order, or ifit is "camplicated " In detcnnining whether
    ].0   a personal injury case is "complicated" the P[ Courts will consider, araang other things, the
    11    number of pretrial hearings or the complexity of issues presented.
    12 18.        Parties opposing a motion to transfer havc five coud days to file (at the filing window
    13 an the first t?oor af the Stanley Mosk Caurthouse, via U.S. mai) or via e-Dclivery) an Opposition
       i
    14 i (using the sarne LACIV 238 Motion to Transfer forrn),

    1S    19. The PI Courts wil) not conduct a hearing on any Motion to Transfer to UC Court.
    15 ~ Although the parties rnay stipulate to transfcr a case to an lndependent Calendar Department, the
    17    Pl Coucls will inake an independent deterneination whether to tcansfer the case or not.
    18    FINAL STATUS COIVFERENCE
    19    20. Parties shall camply with the requiremcnts of the PI Courts' "First Amettded Standing
    20    Order Re Final Status Conference," which shall be served with the surnrnons and complaint.
    21    JURY FEES
    22 21.       Parties must poy jury fm taa later than 365 calendar days afler the filing of the initial
    23 complaint. (C. C. P. § 631; subds. (b) and (c).)
    24    JURY TRIALS
    25 22.       The PI Courts do not conduct jury trials. On the trial date, a Pl Court will contact the
    26 Master Calendar Cauri, Department Onc, in the Staaley Ivlosk Courthouse. Depaatment One
    27 wi[1 assign ceses out for trial to dedicated Civil Trial Courtroorns and designated Criminal
    28    Courtrovms.


                                                      Page 7 of 8

                           Standing Order Re Personal Itejury Procedures, Central District
     Case 2:20-cv-01644 Document 1-1 Filed 02/20/20 Page 43 of 65 Page ID #:55



                                                                                               2018-SJ-007



  1 SANCH'IOiVS
     2   33.      'Fhe Court has discTetion to impose stutcfions for ony violation of tltiis general ordeg.
     3 (C.C.P. §§ 128.7, 187 and Gov. Cade, § 68608, subd. (b),)
     4
     5
     6   ®ated:
                                                         Dc6re IC. Weentraub
  7
                                                         Supervising Judge of Cid! Canras
  8                                                      Los AngeOes Superior Court
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                          Slending Order Re Persansl Injury Procedures, Centrat ®istrla:t
Case 2:20-cv-01644 Document 1-1 Filed 02/20/20 Page 44 of 65 Page ID #:56




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                                                                   Couny of Lae Mpeles
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 5                                                          B                           ft~Y
                                                             y
                                                                    SPdhM8rig Chuaeg
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 7

 a                         SUPERtvR C®URT oF TtiE STATE OF CAL9FORNtE4
 9                    FDR TFIE COt1NTY OF 1.bS AtolGEUES — CENTRAL. DIS'FRICT
10
      in re Personal InJury Cases Assigned                  FIRST AMENDED STAN®ING ORQ►ER --
11    To ttle Personal tnJury Courts                        RE: FtNAL STATUS C®NFERENCE,
      (Depat4ments 2, 3, 4, 5 and 7 of the 5pring           PEFtS®NAi. tN.lURY ("PI") C(3URTS
12    Street Couitttouse)                         I         (FJiecthre as of Apnl 16, 2018)
13

14

15    I The dates for Trial and Final Status Confernanae ("FSC") having been set in thls mattei, the
is    I Court HEREBY AMENDS AND SiiPERSEDES ITS JANUARY 2, 2018 SiCANDfNG
17    4RDEfd—RE: FiNAt_ STATUS CDNFERENCE, PERSONAL INJURY ("Pi") COtlRT.S
1a    AND, GENERALi.Y, ORDERS AS EailDVitS tN i'HIS AN® ALt_ OTHER GENERAL
19    JURISDICTIQN PERS®NAL lNJURY ACTIONS:
20

21            f.     PURPOSE ®F THE FSC
22           The purpose of the FSC is to ve6ify that the partieslcounsel are cornplately ready to
23    proceed with klal cotftwously and efficiant9y, fPom day to day, untl! verdfcL ThB Pi Courts
24 ' will verlfy at the FSC that all part)eslcounse! have (R ) prepared the Exhiblt binders end Tdal

2s    Document binders and (2) met and cortferTed in an effort to sgpulate to ultimate facts, legai ;
28 , issues, imotions In limine, and the aulhenticatlan and admissfbidity of exhlblts.                           ~
27

28i
                                                     ftge 1 of 5


      FPRS'T AlatEfilDEC ARDEt RE FIl3Ai. STATUS C®NFERRENCE, PERSO{dAL KMY CQ]URTS (Effer.lJm Aprli 16, 2018)
Case 2:20-cv-01644 Document 1-1 Filed 02/20/20 Page 45 of 65 Page ID #:57




  1               2. TRtAl. DOCUMENTS TO BE FILE®
  2               At least five catendar days prior to the Flnal Status Conference, the partieslcounsel
 3        shap serva and gle (in Room 102 of the Stanley Mosit Courthouse or by a-Defivery) the
  4       foNovutng Trlay Readtness Oocuments:
 s                        A.     '1R1Ja1L BRIEFS (OPTt®NAL)
  B                       Each pattylcounset may tile, but is not requfred to fila, a tstal brlef succlnctty
  y       I idenUfying:
 s                        (1 ) the ctalms and defenses subJect to litigation;
 9                        (2) the maJortegal issues (with supporting polnts and authotides);
10                        (3) the reltef ctaimed and calcufatton of damages sought; and
11                        (4) any other tnformation that may assist the court at triat.
12                        B.     t1ROTIONS IN UMINE
13                        t3efore tiling motions In Iirnlne, the partieslcounsel shati cornply with the
14        statutory nodce provisions of Code of Civrl Procedure (°C.C.P ") Sedfon 1005 and the
 ts requirements of t.os Angeles County Court Rule ("Local Rute") 3.57(a). The caption of each
 ts I motlon In limine shall conciseiy tdentify the evidence that the moving party seeks to
17        preclude. Partfes filing more than one motion In Itmine shap number them consecutiveiy.
18        Parttes flling opposttion and reply papars sha8 identlfy the corresponding mottan number In
19        the captlon of their papers.
2D                        C. aHOINT STATEMENT T® BE READ TO TNE .dURY
21                        For jury trlats, the parilesicounsel shalt work together to prepare and flle a
za written statement of the case for the court to read to the jury. Locat Rule 3.26(g)(4).
23    I                   D. JQINT WITNESS LIST
24                        The partleslcounset shall work together to prepara and gle a Joint Gst of alt
2s        wilnesses In aiphatsetical order by last name that each party Intends to catl (exciuding
2s        imp$ac.Eyment and rebuttat wttnesses). Lacal Rule 3.25(gxS). The ]oint vAness Nst shall
27        ldentify each witrtess by name, specify which witnesses are experts, and estimte the lei
ZB        of the dltact, cnDss exarninatfon and re-direct examination (if any) of each witness. The
                                                        Paga 2 af S


          FIRST AWAJDED ®ROER iZE FiNAL sTA'ril8 CONFERENCE, PERSDNAL ItJJUF1Y COURT6 (Etf®cgvo AprH 16, 2018)
Case 2:20-cv-01644 Document 1-1 Filed 02/20/20 Page 46 of 65 Page ID #:58




 9        part(eslcoamsel shati kientity all potentiai witness scheduling Issues and special
 z nequir$ments. Any party/ax}unset who aeeks to ellclt testimony from a witness not (dentifled
 3 an the witness tist must first make a showing of good cause to the tfial court.
 a                      E. fJST OF PROPOSED Jt1RY INSTRUCTIOtVS
 s                             (301NT AND CONTESTED)
 s                      The parties/counset shall jointly prepare and file a iist of proposed jury
 T        tnstructions, organized in numerical order, spedfying ttte instrnsctions upon which all sides
 e agn3e arid the contested Instructlons. lf any. 'fie List of Proposed Jury Instntctions must
 s ; Include a space by each Instruct)on for the judge to indicate whether the lnstructjon was
10       I given.
t1                      F. JURY INSTRUCTIONS
12   I                         (JOINT ANO CONTESTED)
13                      The partieslcounset shall prepare a complete set of i•vil-text proposed jury
14       Instructions, edit3ng ali proposed Califomla Civii Jury lnstructlons ("CACI") and Insett party
15       name(s) and elEminate blanks and Irrelevant material. The partieslcounsel shatl pr+apare
1s       spedai lnsinictlons in a tonnat ready for submissian to the jury with the Instruclion number,
17       lifle, and text only (i.e., there should be no boxes or other indication on the printed
18       instnxftn Itself as to the requesting party)•
19                      G. JOINT VEROIICT FORNi(S)
20                      The partjes/caunsel shall prepare and jointiy file a proposed general vardlct
21       I fotm or speciai verdict fomt (with interrvgatories) acceptabte to ail sides. -Local Ruta

22       3.25(gxB). If the partieslcounsel cannot agree on a joint veRik;t form, each party must
23       separately fife a proposed verdict fonn.
29                      H.     JOINT EXHIBIT LIST
25                      The partiesicounsel aha!l pr+epare and tile a joint exhibit list organlzed wdth
2s       columns ldentIlying each exhibit and specifying each partys evident}ary objections, sf any, to
27       admission of each exhIblL The partles/counsel shall meet and confer In an effort to resolve
2e       vbjecElons to the admissibility of each exhibit.
                                                     P®p 3 of 6


         FIRSTAMENQEQ oFiDER RE FINAI. STAiUS CONFERENCE, PERSONAL IN.lURY ColdRl'S tEfi®cM Apsf116, 2018)
Case 2:20-cv-01644 Document 1-1 Filed 02/20/20 Page 47 of 65 Page ID #:59




                        I.     PAGE AND IJtVE DESIGNATION FbR
                               DEPOSITiON AND FORi1RER TESTIMONY
                        If the partieslcounsel Intend to use deposition testimny or fonner trial
       testimony in lieu of any witness's five testimony, the parties/counsel shaU meet and confer
       and jotntfy prepare and file e ctrart with columns for each flf the foUowing: 1) the fine and
       page desfgnations of the deposition or €onner testimony requested for use. 2) objectibns,
       3) counter-des[gnatlons, 4) any responses thereto, and 5) the Court's rvling.
               3.       EVIDEiYTIARY EDCHIBITS
               The partieslcounsel shall jointly prepare (and be ready to tempararily iodge for
       Inspectfon at the FSC) three sets of tabbed, fntemally paginated by document, and properly
       marked exhibits, orgianized numericaify [n three-ring binders (a set for the Court, the Judlcial
12     Asslstant and the witnesses). The parties/counsel shab mark aH non-documentary exhibits
13     and insert a slmple written description of the exhibit behind the con-espanding numericat tab
14     In the exhibit binder. If the parties have a jofnt signed exhibit iist and efectsonic copies of
1s     thefr respective exhibits, then the partieslcounsei wiU not be required to produce exhibit
1s     bfnders at the FSC. However, the exhibit binders may be n:quired by the assigned trial
17     judge when the trial commences. In the absence of either a joinl signed exttibft Ust or
1e     electranic copies, exhibit binders vdil be required by afl parties/counsel at lhe FSC.
19            4.        TRlAE. BlND1ErRS REQUli2ED 1N TftE Pii COLtRTS
20            The partleslcnunsel shall jolntly prepare (and be ready to temporarily iodge and
21 ~   Include the foilowing for inspectfon at the FSC) the Trial Documents consisting of conform
22 ' coptes, tabbed and oTganized lnta three-ring bindesa wlth a tabte of contents that [nciudes

23     the totiowing:
24            Tab A:          Trial &iefs (Optional)
zs            Tab B:          Motlons in Limine
29            Tab C:          Joint Statement to Be Read to the Jury
27            Tab D:          Joint Witness t.ist
28     x
                                                      Page 4 of 5


       FIRST AMENDEED QRflER RE FINAL STATUS CONFEiiENCE, FfiRSOUAL thdJQ.tRY COl9RT5 (Effecbm April 18, 2b18)
Case 2:20-cv-01644 Document 1-1 Filed 02/20/20 Page 48 of 65 Page ID #:60




  t           Tab E:         .fotnt List of Jury Instructtons (identifying the agreed upmn and
 z contested instructions)
 3        Tab F.        Joint and Cont®sted Jury Instructions
  4           Tab C:         Joint and/or Contested Verdict Forrn(s)
 S.           Tab H:         Joint Exhlbit i.ist
  e           Tab t:         Joint Ciyart of Page and Line Designation(s) for Deposition and Formar
 a Testimony -
 a            Tab J:         Copies of the Current Operative Pleadings (including the operative
 s complaint, answer, cross-complaint, ii any, and answer to any cross-compfaint).
 10           The parties/counsel shag organize motions itt IImine (tabbed in nurnericai order)
 ti   behind Tab B wlth the opposition papers and repty papers for each motian ptaced directly
12 behlnd the moving papers. The parties shaU organize proposed Jury InsiructDeons behlnd
13 Tab F. with the agreed upon Instnuctions flrst In order followed by the contested iristructions
 td (lncluding special instnictions) submifteti by each side.
 Is          S. FAlLURiE Ta COMPLY WiTiil FSC OBUGATIONS
 ts          The court has discreBon to require any partylcounsel who faiis or retusas to comply
17 with this Amended Standing Onier to show cause why the Court should not )mpose
 ia monetary, evidentiary and/or Issue sanctlons (including the entry of a defautt or the striking
19 of an answer).
20

21

22 Date
                                                    Debrs K. V~eintraub                                           '
23
                                                    Supervising Judge, Civi!
24                                                  Los Angeles Superior Court
2s

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                                                     ~aqe 5 af 5


      FIRST Ah9ENDE0 ORDER FiE FIPL4L STA1i1S CONFERENCE, PF.RSONAL IN.}URY COQJFiTS (Eifectiva Aprff 16, 2016)
           Case 2:20-cv-01644 Document 1-1 Filed 02/20/20 Page 49 of 65 Page ID #:61




                                                                01"r
                           Superior Court of California, County of Los Angeles

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 What is ADR7
ADR helps people find solutions to their legai disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration and settlement conferences. When ADR is done by phone or computer, it may be calied Online
 Dispute itesolution (ODR). These "alternatives" to litigation and trial are described below.

Advantasgs of ADR
       • Saves Time: ADR Is faster than going to trial.
           Saves Money: Parties can save on court costs, attorney's fees and witness fees.
           Keeps Control with the parties: Parties choose their ADR process and provider for voluntary ADR.
           Reduces stress/protects privacy: ADR is done outside the courtroom, in private offiices, by phone or online.

DisadvantaRes of ADR                          -
       •   Costs: if the parties do not resotve thely dispute, they may have to pay for ADR and litigation and trial.
       •   No Public Trial: ADR does not provide a public trial or a decision by a judge or jury.

Main Types of ADR:

       1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
          settlement agreement Instead of a trial. If the parties have lawyers, they will negotiate for their clients.

       2. Mediation: ln mediation, a neutral "mediator" Iistens to each person's concerns, helps them evaivate the
          strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
          acceptable to all. Mediators do not decide the outcome. Parties may go to trial If they decide not to settie.

                      Mediation may be appropriate when the parties
                        • want to work out a solution but need heip from a neutral person.
                        • have communication problems orstrong emotions that interfere with resoiution.
                      Mediation may not be appropriate when the parties
                           •     want a pubiic trial and want a judge or jury to decide the outcome.
                           •     lack equal bargaining power or have a history of physicai/emotional abuse.

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Calllomta Rules of eourt, rule 3.221
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                                                              8 y            y Angeles, County.
                in for-clvll 'cases Is-Volunta roy and ap rties mae se ect an medlator they wish. Options inciude:

                a. •Trie ~Ivil Mediation
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                    ~+ Mediation'Center of:L'as Angeles: Case'Manager:'(833} q75-4145 info@mediationtA.orR
                   -                        -                            -        -            -__ t- -
    }          ~TI►ese organizations
                          ..         candot,accept every case and they
                                                                   _    may  decltne cases at thelraiisciretion.
                    Visit www Iacourt:oralADR.Rei.LEst for important information andeFAQs. before'contacting them.1
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                          ~!l 'Free or iow-cost'mediations Fbefore the daYof trial for these and other case   t1►P-es.
                          ~•` 'For ODR by phorie or computer-fot.small ciaims orunlaovfui tletainer,(evlction) casesl- fore the_
                                day of trial;,vistt
                                http:/jwww.iacouirt.ore/division/emallciaims/odf/oniineDisnuteResolutionFiver-EnaSaa n.pdf

               c. ,~IMediators and ADR and Bar organizations that provlde mediation may- be found`on the Internet.



        3. Arbitration: Arbitration Is less formal than trial, but like trial, the parties present evidence and arguments to the
           person who decides the outcome. In "binding" arbitration, the arbitrator's decision is fJnai; there is no right to
           trial. in "nonbinding" arbitration, any party can request a trial after the arbitrator's decision. For more
           information about arbitration, visit http://www.courts.ca.eov(proerams-adr.htm

        4. Mandatory Settiement Conferences (MSC}: MSCs are ordered by the Court and are often held ciose to the triai
           date. The parties and their attorneys meet with a judge orsettlement officerwho does not rnake a decision but
           assists the parties in evaivating the strengths and weaknesses of the case and in negotiating a settiement.
           For information about the Court's MSC programs for civii cases, visit: www.lacourt.ore/division(civi!/settiement




Los Angeles Superior Court ADR website: www.lacourt.org/division/civil/settlement
For general (nformation and videos about ADR, visit http://www.courts.ca.gov/programs-adr.htm




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For Mandatoay Use
Callfamia puks of Court, rule 3.221
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 1                                                                              County of Los Angefes

2                                                                                 MAY 02 2019
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3                                                                                          Me ' DePutf
                                                                          ~►
4                                                                                    linda Mina

5
                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
 6
                                   FOR THE COUNTY OF LOS ANGELES
7

 8   IN RE LOS ANGELES SUPERIOR COURT ) FIRST AMENDED GENERAL ORDER
     — MANDATORY ELECTRONIC FILING )
9    FOR CIVIL                       )
                                                    )
10                                                 )
11
                                                   )

12          On December 3, 2018, the Los Angeles County Superior Court mandated electronic filing of all
13   documents in Limited CiviI cases by litigants represented by attorneys. On January 2; 2019, the Los
14   Angeles County Superior Court mandated electronic filing of all documents filed in Non-Complex
15   Unlimited Civil cases by lioigants represented by attorneys. (California Rules of Court, rule 2.253(b).)
16   All electronically ftled documents in Limited and Non-Complex Unlimited cases are subject to the
17   following:

18   1) DEFINITIONS

19      a) "Bookrnark" A bookmark is a PDF document navigational tool that allows the reader to
20          quickly locate and navigate to a designated point of interest within a document.

21      b) `OEfiling PortaP' The official court website includes a webpage, referred to as the efiling
22          portal, that gives litigants access to the approved Electronic Filing Service Providers.

23      c) "Eiectronsc Envelope" A transaction through the electronic service provider for submission
24          of documents to the Court for processing which may contain one or more PDF documents
25          attached.
26      d) "Electronic Filing" Electronic Filing (eFiling) is the electronic transmission to a Court of a
27          document in electronic form. (California Rules of Court, rule 2.250(b)(7).)
28

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                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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1     e) "Electronic Filing Service Provider" An Electronic Filing Service Provider (EFSP) is a
2        person or entity that receives an electronic filing from a party for retransmission to the Court.
3        In the submission of filings, the EFSP does so on behalf of the electronic filer and not as an
4        agent of the Court. (California Rules of Court, rule 2.250(b)(8).)
5     f) "Electronic Signature" For purposes of these local rules and in conformity with Code of
6        Civil Procedure section 17, subdivision (b)(3), section 34, and section 1010.6, subdivisfon
7        (b)(2), Government Code section 68150, subdivision (g), and California Rules of Court, rule
8        2.257, the term "Electronic Signature" is generally defined as an electronic sound, symbol, or

9        process attached to or logically associated with an electronic record and executed or adopted
10       by a person with the intent to sign the electronic record.

      g) "Hyperlink" An electronic link providing direct access frorn one distinctively marked place
12       in a hypertext or hypermedia document to another in the same or different document.
13    h) "Portable Document Format" A digital document format that preserves all fonts,
14       formatting, colors and graphics of the original source document, regardless of the application
15       platform used.

16 ~ 1 2) MANDATORY ELECTRONIC FILING
17    a) Trial Court Records
18       Pursuant to Government Code section 68150, trial court records may be created, maintained,

19       and preserved in electronic format. Any document that the Court receives electronically must
20       be clerically processed and must satisfy all legal filing requirements in order to be filed as an

21       official court record (California Rules of Court, rules 2.100, et seq. and 2.253(b)(6)).
22    b) Represented Litigants
23       Pursuant to California Rules of Court, rule 2.253(b), represented litigants are required to
24       electronically file documents with the Court through an approved EFSP.
25    c) Public Notice
26       The Court has issued a Public Notice with effective dates the Court required parties to
27       electronically file documents through one or more approved EFSPs. Public Notices containing
28        effective dates and the list of EFSPs are available on the Court's website, at www.iacourt.orQ.

                                                          2                                               -
                    FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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 1          d) Documents in Related Cases
2              Documents in related cases must be electronicaliy filed in the eFiling portal for that case type if
3              electronic filing has been implemented in that case type, regardless of whether the case has
4~             been related to a Civil case.
5      3) EXEMPT LPTIGANTS
6           a) Pursuant to Californ'sa Rules of Court, rule 2.253(b)(2), self-represented litigants are exempt
7              from mandatory electronic fiiing requirements.
 8          b) Pursuant to Code of Civil Procedure section 1010.6, subdivision (d)(3) and California Rules of
 9             Court, rule 2.253(b)(4), any party may make application to the Court requesting to be excused
10 1           from filing documents electronically and be penmitted to file documents by conventional

                means if the party shows undue hardship or significant prejudice.

12     4) EXEMPT FILINGS
13          a) The following documents shall not be filed electronically:
14             i)    Peremptory Challenges or ChalIenges for Cause of a Judicial Offiicer pursuant to Code of
15                   Civil Procedure sections 170.6 or 170.3;
16             ii) Bonds/Undertaking documents;
17 ~            iii) Trial and Evidentiary Hearing Exhibits
18              iv) Any ex parte application that is filed concurrently with a new complaint including those

19                   that will be handled by a Writs and Receivers department in the Mosk courthouse; and

r~              v) Documents submitted conditionally under seal. The actual motion or application shall be

21                    electronically filed. A courtesy copy of the electronically filed motion or application to

22                   submit documents conditionally under seal must be provided with the documents

23                   submitted conditionally under seal.
24          b) Lodgments
25              Documents attached to a Notice of Lodgment shall be lodged and/or served conventionally in
26     paper form. The actual document entitled, "Notice of Lodgment," shall be filed electronically.
27

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                           FIRST AMENDED GENERAL ORDER Rfi MANDATORY ELECTRONIC FiLING FOR CIVIL
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1 1 5) ELECTRONIC FILING SYSTEM WORKING PROCEDURES
2    Electronic filing service providers must obtain and manage registration information for persons
3    and entities electronically filing with the court.
4 6) TECHNICAL REQUIREMENTS
5    a) Electronic documents must be electronically filed in PDF, text searchable format when
6        technologically feasible without impairment of the document's image.

7    b) The table of contents for any filing must be bookmarked.
8    c) Electronic documents, including but not limited to, declarations, proofs of service, and

9        exhibits, must be bookmarked within the document pursuant to California Rules of Court, rule

10       3.1110(f)(4). Electronic bookmarks must include links to the first page of each bookmarked

11       item (e.g. exhibits, declarations, deposition excerpts) and with bookmark titles that identify the

12       bookedmarked item and briefly describe the item.
13   d) Attachments to primary documents must be bookmarked. Examples include, but are not

14       limited to, the following:
15       i) Depositions;
16       ii) Declarations;
17       iii) Exhibits (including exhibits to declarations);

18       iv) Transcripts (including excerpts within transcripts);

19       v) Points and Authorities;

20       vi) Citations; and

21       vii) Supporting Briefs.
22   e) Use of hyperlinks within documents (including attachments and exhibits) is strongly

23       encouraged.
24   f) Accompanying Documents
25       Each document acompanying a single pleading must be electronically filed as a separate
26       digitaI PDF document.
27    g) Multiple Documents
28       Multiple documents relating to one case can be uploaded in one envelope transaction.

                                                          4
                    FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILIiVG FOR CIVIL
     Case 2:20-cv-01644 Document 1-1 Filed 02/20/20 Page 55 of 65 Page ID #:67
                                                                                              2019-GEN-0 14-00




1     h) Writs and Abstracts
2        Writs and Abstracts must be submitted as a separate electronic envelope.
3     i) Sealed Documents
4        If and when a judicial officer orders documents to be filed under seal, those documents must be
5        filed electronicaily (unless exempted under paragraph 4); the burden of accurately designating
6        the documents as sealed at the time of electronic submission is the subnutting party's
7        responsibility.
8     j) Redaction
9        Pursuant to California Rules of Court, rule 1.201, it is the submitting party's responsibility to
10       redact confidential information (such as using initials for names of minors, using the last four
11       digits of a social security number, and using the year for date of birth) so that the information
12       shall not be publicly displayed.
13 17) ELECTRONIC FILING SCHEDULE
14    a) Filed Date
15       i) Any document received electronically by the court between 12:00 am and 11:59:59 pm
16           shall be deemed to have been effectively filed on that court day if accepted for filing. Any
17           document received electronically on a non-court day, is deemed to have been effectively
18           filed on the next court day if accepted. (California Rules of Court, rule 2.253(b)(6); Code

19           Civ. Proc. § 1010.6(b)(3).)
20       ii) Notwithstanding any other provision of this order, if a digital document is not filed in due
21           course because of: (1) an interruption in service; (2) a transmission error that is not the
22           fault of the transmitter; or (3) a processing failure that occurs after receipt, the Court may
23           order, either on its own motion or by noticed motion submitted with a declaration for Court
24           consideration, that the document be deemed filed and/or that the document's filing date
25           conform to the attempted transmission date.

26 18) EX PARTE APPLICATIONS
27    a) Ex parte applications and all documents in support thereof must be electronically f led no later
28       than 10:00 a.m. the court day before`the ex parte hearing.

                                                          5
                      FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
      Case 2:20-cv-01644 Document 1-1 Filed 02/20/20 Page 56 of 65 Page ID #:68
                                                                                             2019-GEN-014-00




 1     b) Any written opposition to an ex parte application must be electronically 6led by 8:30 a.m. the

2         day of the ex parte hearing. A printed courtesy copy of any opposition to an ex parte
3         application must be provided to the court the day of the ex parte hearing.
4 9) PRINTED COURTESY COPIES
5      a) For any filing electronically filed two or fewer days before the hearing, a courtesy copy must
6         be delivered to the courtroom by 4:30 p.m. the same business day the document is efiled. If
 7        the efiling is submitted after 4:30 p.m., the courtesy copy must be delivered to the courtroom
8         by 10:00 a.m. the next business day.
9      b) Regardless of the time of electronic filing, a printed courtesy copy (along with proof of
10        electronic submission) is required for the following documents:
11         i) Any printed document required pursuant to a Standing or General Order;
12        ii)   Pleadings and motions (including attachments such as declarations and exhibits) of 26
13              pages or more;
14       iii)   Pleadings and motions that include points and authorities;
15       iv) Demurrers;
16        v) Anti-SLAPP fil'sngs, pursuant to Code of Civil Procedure section 425.16;
17        vi) Motions for Summary )udgment/Adjudication; and

18       vii) Motions to Compel Further Discovery.
19     c) Nothing in this General Order precludes a Judicial Officer from requesting a courtesy copy of
20        additional documents. Courtroom specific courtesy copy guidelines can be found at
21        www.lacourt.orQ on the Civil webpage under "Courtroom Information."
22   0) WAIVER OF FEES AND COSTS FOR ELECTRONTCALLY FII.ED DOCUMENTS
23     a) Fees and costs associated with electronic filing must be waived for any litigant who has
24        received a fee waiver. (California Rules of Court, rules 2.253(b)(), 2.258(b), Code Civ. Proc. §
25        1010.6(d)(2).)

26     b) Fee waiver applications for waiver of court fees and costs pursuant to Code of Civil Procedure
27        section 1010.6, subdivision (b)(6), and California Rules of Court, rule 2.252(f), may be
28        electronically filed in any authorized action or proceeding.

                                                          6
                     FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
   Case 2:20-cv-01644 Document 1-1 Filed 02/20/20 Page 57 of 65 Page ID #:69
                                                                                          20I9-GEN-014-00




1) SIGNATURES ON ELECTRONIC FILING
   For purposes of this General Order, all electronic filings must be in compliance with California
   Rules of Court, rule 2.257. This General Order applies to documents filed within the Civil
   Division of the Los Angeles County Superior Court.


       This First Amended General Order supersedes any previous order related to electronic filing,

and is effective immediately, and is to remain in effect until otherwise ordered by the Civil

Supervising Judge and/or Presiding Judge.



DATED: May 3, 2019                                                        ~

                                                     KEV1N C. BRAZILfi
                                                     Presiding Judge




                  FIRST AMENDED GENERAL ORDER RE MANDA'IORY ELEC7RONIC FILING FOR CIVIL
       Case 2:20-cv-01644 Document 1-1 Filed 02/20/20 Page 58 of 65 Page ID #:70
                                                                                      Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:
Spring Street Courthouse
312 North Spring Street, Los Angeles, CA 90012
PLAINTIFF/PETITIONER:
James Shaw et al
DEFENDANT/RESPONDENT:
Wright Medical Group, Inc. et al
                                                                                 CASE NUMBER:
                        CERTIFICATE OF MAILING                                   19STCV36986

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the PI General Order, Standing Order re PI
Procedures and Hearing Dates upon each party or counsel named below by placing the document for
collection and mailing so as to cause it to be deposited in the United States mail at the courthouse in Los
Angeles, California, one copy of the original filed/entered herein in a separate sealed envelope to each
address as shown below with the postage thereon fully prepaid, in accordance with standard court
practices.




    Nicholas M. Maxwell
    Vartazarian Law Firm
    15250 Ventura Blvd Ste 505
    Sherman Oaks, CA 91403




                                                     Sherri R. Carter, Executive Officer / Clerk of Court
Dated: 11/14/2019                                     By:   Lillian Castillejo
                                                            Deputy Clerk




                                      CERTIFICATE OF MAILING
            Case 2:20-cv-01644 Document 1-1 Filed 02/20/20 Page 59 of 65 Page ID #:71
                                                                                                Reserved for Clerk’s File Stamp
                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
 Spring Street Courthouse
 312 North Spring Street, Los Angeles, CA 90012

                   NOTICE OF CASE ASSIGNMENT
                          UNLIMITED CIVIL CASE

                                                                                 CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below. 19STCV36986

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE               DEPT     ROOM                  ASSIGNED JUDGE                       DEPT             ROOM
   ✔     Jon R. Takasugi                    3




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
       10/17/2019
    on _____________________________                                        Romunda Clifton
                                                                         By __________________________________, Deputy Clerk
                 (Date)
LACIV 190 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
LASC Approved 05/06
            Case 2:20-cv-01644 Document 1-1 Filed 02/20/20 Page 60 of 65 Page ID #:72




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 21030831
Notice of Service of Process                                                                            Date Processed: 01/28/2020

Primary Contact:           Debby Daurer
                           Wright Medical Technology, Inc.
                           1023 Cherry Rd
                           Memphis, TN 38117-5423

Entity:                                       Wright Medical Technology, Inc.
                                              Entity ID Number 2233123
Entity Served:                                Wright Medical Technologies, Inc.
Title of Action:                              James Shaw vs. Wright Medical Group, Inc.
Matter Name/ID:                               James Shaw vs. Wright Medical Group, Inc. (9815787)
Document(s) Type:                             Notice
Nature of Action:                             Product Liability
Court/Agency:                                 Los Angeles County Superior Court, CA
Case/Reference No:                            19STCV36986
Jurisdiction Served:                          California
Date Served on CSC:                           01/27/2020
Answer or Appearance Due:                     Other/NA
Originally Served On:                         CSC
How Served:                                   Regular Mail
Sender Information:                           Steven R. Vartazarian
                                              818-990-9949

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
     A
         Case 2:20-cv-01644 Document 1-1 Filed 02/20/20 Page 61 of 65 Page ID #:73
Y~

          1 Steven R. Vartazarian, Esq. (SBN: 227635)
               Nicholas M. Maxwell, Esq. (SBN: 283575)
          2    Kenneth E. Traynham, Esq. (SBN: 327612)
               THE VARTAZARIAN LAW FIRM
          3    15250 Ventura Blvd., Suite 505
               Sherman Oaks, California 91403
          4    P: 818.990.9949
               F: 818.990.6124
          5
               Attorneys for Plaintiff,
          6    JAMES SHAW and LISA SHAW
          7

          8                SUPERIOR COURT OF THE STATE OF CALIFORNIA
          9                           FOR THE COUNTY OF LOS ANGELES
         10
         11     JAMES SHAW, LISA SHAW,                      Case No: 19STCV36986
         12                      Plaintiffs,
         13     V.
         14
                WRIGHT MEDICAL GROUP, INC.,                 NOTICE OF CHANGE OF ADDRESS
         15     a Corporation; WRIGHT 1VIEDICAL
                TECHNOLOGY, INC., a corp oration;
         16     ADVANCED SURGICAL DEVICES,
                INC., a California Corp oration,
         17     WILLIAM ZUROWSKI, FRANK
                VELAZCO, and DOES 1 to 100,
         18     inclusive,
         19                      Defendants.
         20.
         21    TO ALL INTERESTED PARTIES AND THEIR ATTORNEYS OF RECORD:
         22          PLEASE TAKE NOTICE that THE VARTAZARIAN LAW FIRM, attorneys for
         23    Plaintiff JAMES SHAW and LISA SHAW, has moved; effective January 27, 2020 its new
         24 address will be: 23621 Park Sorrento, Suite 101, Calabasas, CA 91302. The firm's
         25
         26
         27
         28

                                                           1
                                               NOTICE OF CHANGE OF ADDRESS
F
    Case 2:20-cv-01644 Document 1-1 Filed 02/20/20 Page 62 of 65 Page ID #:74



     1   telephone number, facsimile number, and email addresses remain unchanged.
     2
         Dated: January 2 2020                         THE VARTAZARIAN LAW FIRM
     3

     4                                                                    ~
                                                By..      7'45~~
                                                               —
     5                                                 Steven R. Vartazarian, Esq.
                                                       Nicholas M. Maxwell, Esq.
     6                                                 Kenneth E. Traynham, Esq.
                                                       Attorneys for Plaintiff,
     7

     8

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                                    NOTICE OF CHANGE OF ADDRESS
Case 2:20-cv-01644 Document 1-1 Filed 02/20/20 Page 63 of 65 Page ID #:75



                                            PROOF OF SERVICE
 2                        STATE OF CALIFORNIA, LOS ANGELES COUNTY
 3           I am employed in Los Angeles County, State of California. I am over the age of 18 and not
     a party to the within action; my business address is:15250 Ventura Blvd., Suite 505, Sherman Oaks,
 4   CA 91403
 5           On January ~~, 2020, I served the foregoing document described as

 6                  NOTICE OF CHANGE OF ADDRESS
 7   on the interested parties in this action by placing the true copies thereof enclosed in sealed envelopes
     addressed as follows:
 8
                                           Please see Service List
 9
     (XXX)          BY U.S. MAIL: I deposited such envelope(s) in the mail at Sherman Oaks, California.
10 The envelopes were mailed with postage thereon fully prepaid. I am "readily familiar" with the firm's
     practice of collection and processing correspondence for mailing. Under that practice it would be
11   deposited with U.S. Postal Service on the same day in the ordinary course of business. I am aware
     on motion of the party served, service is presumed invalid if postal cancellation date or postage
12   meter date is more than one day after the date of deposit for mailing in affidavit.
13   ()      OVERNIGHT DELIVERY: () UPS () FedEx: I enclosed the documents in an envelope or
     package and addresses to the persons at the address stated in the SERVICE LIST. I placed the
14   envelope or package for collection and overnight delivery at a.n office or a regular utilized drop box
     of the overnight delivery carrier.
15
     ()      UPS / FEDEX DELIVERY: I enclosed the documents in an envelope or package and
16 addresses to the persons at the address stated in the SERVICE LIST. I placed the envelope or
     package for collection and delivery at an office or a regular utilized drop box of the delivery carrier.
17
     ()      PERSONAL SERVICE: I enclosed the documents in an envelope or package
18 and personally served the persons stated in the SERVICE LIST.
19 ()       FACSIMILE: I faxed the documents to the persons at the numbers listed in the SERVICE
     LIST. No error was reported by the fax system that I used. A copy of the record of the fax
20   transmission, which I printed out, is attached.

21   ()      EMAIL/ELECTRONIC TRANSMISSION: I caused the documents to be sent to the person
     at the email addressed listed in the SERVICE LIST. I did not receive, within a reasonable time after
22   the transmission, any electronic message or other indication that the transmission was unsuccessful.

23           I declare under penalty of perj ury under the laws of the State of California that the above is
     true and correct.
24
             EXECUTED on January ~%~! 2020, at Sherman Oaks,
25
26
27                                          NTHER RIOS / ELISA LOME
                                            BRITTNEY LUKENBAUGH
28

                                                                                                          n-m
                                             PROOF OF SERVICE
     ri
          Case 2:20-cv-01644 Document 1-1 Filed 02/20/20 Page 64 of 65 Page ID #:76
I/




           1                                        Service List
           2
              William Zurowski
           3 227 Palisades Avenue
              Santa Monica, CA 90402
           4 Defendant
           5
              Advanced Surgical Devices, Inc
           6 c/o William Zurowski
              227 Palisades Avenue
           7 Santa Monica, CA 90402
              Defendant
           8
           9 Wright Medical Group, Inc.
              CSC Lawyers, Inc.
          10 2710 Gateway Oaks Dr. Ste 150N
              Sacramento, CA 95833-3502
          11 Defendant
          12
              Wright Medical Technologies, Inc.
          13 CSC Lawyers, Inc.
              2710 Gateway Oaks Dr. Ste 150N
          14 Sacramento, CA 95833-3502
              Defendant
          15
          16 Sean K. Burke, Esq
              DUANE MORRIS, LLP
          17 30 S. 17' Street
              Philadelphia, PA 19103-4196
          18
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Calabasas, CA 91302                                                 ~ti•. ~~•:~~                                                                      PITIVEY BOWES
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                                                         Wright Medical Technologies, Inc.
                                                         CSC Lawyers, Inc.
                                                         2710 Gateway Oaks Dr. Ste 150N
                                                         Sacraniento, CA 95833-3502



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